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              EXHIBIT I
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                                                      23 MAG 122
 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

   In the Matter of a Warrant for All
   Content and Other Information                                TO BE FILED UNDER SEAL
   Associated with Multiple Accounts
   Containing     Stored    Electronic                                   AGENT AFFIDAVIT
   Communications, USAO Reference
   No. 2022R00646


                 Agent Affidavit in Support of Application for a Search Warrant
                             for Stored Electronic Communications


 STATE OF NEW YORK  )
                    ) ss.
 COUNTY OF NEW YORK )

          BRANDON RACZ, Special Agent, being duly sworn, deposes and states:

I. Introduction

     A. Affiant

          1. I have been a Special Agent with the Federal Bureau of Investigation for approximately

 seven years. As an FBI Special Agent, I am a “federal law enforcement officer” within the

 meaning of Federal Rule of Criminal Procedure 41(a)(2)(C), that is, a government agent engaged

 in enforcing the criminal laws and duly authorized by the Attorney General to request a search

 warrant. I am currently assigned to an FBI squad in the FBI’s New York Field Office that

 investigates securities and commodities fraud, along with other white-collar offenses, including

 market manipulation and insider trading. During my time in the FBI, I have received training

 about investigating and have participated in investigations financial crimes, including financial

 crimes related to cryptocurrencies. I have also received training about executing, and have

 participated in executing, numerous search and seizure warrants involving electronic evidence.




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    B. The Providers, the Subject Accounts, and the Subject Offenses

         2. I make this affidavit in support of an application for search warrants pursuant to 18

U.S.C. § 2703 for all content and other information associated with the following accounts and

servers (collectively, the “Subject Accounts”):

                a. A Twitter account with the username @avi_eisen (“Subject Account-1”) and

account ID 2839135427, accessed at the URL https://twitter.com/avi_eisen and maintained and

controlled by Twitter (“Provider-1”), headquartered at 1355 Market Street, Suite 900, in San

Francisco, California;

                b. A Facebook account with the username “Avraham Eisenberg” (“Subject

Account-2”),             accessed        at           https://www.facebook.com/people/Avraham-

Eisenberg/100009952574823/ and maintained and controlled by Meta Platforms, Inc. (“Provider-

2”), headquartered at 1601 Willow Road, Menlo Park, California 94025; and

                c. The following Discord accounts (“Subject Account-3” and “Subject Account-

4”) and server (“Subject Server-1”) maintained and controlled by Discord, Inc. (“Provider-3”),

headquartered at 444 De Haro Street, Suite 200, San Francisco, CA 94107:

      User ID                        Username(s)                    Referred to Herein As

      470697531823620116             AvrahamEisenberg#5451          Subject Account-3

      281233046227779585             CrunchWrapSupreme#1469         Subject Account-4



      Server ID                      Server Link                    Referred to Herein As

      782504674103656489             discord.gg/9RjPjCdGwK          Subject Server-1




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             d. The Google accounts associated with the following email addresses, maintained

and controlled by Google LLC (“Provider-4”), headquartered at 1600 Amphitheatre Parkway,

Mountain View, CA:

               i.   bochen.clean@gmail.com (“Subject Account-5”)

              ii.   avi@thimessolutions.com (“Subject Account-6”)

             iii.   613ike@gmail.com (“Subject Account-7”)

         3. The information to be searched is described in the following paragraphs and in

Attachment A to the proposed warrant.

         4. As detailed below, there is probable cause to believe that the Subject Accounts contain

evidence, fruits, and instrumentalities of violations of 7 U.S.C. §§ 9(1), 13(a)(5) and 17 C.F.R. §

180.1 (commodities fraud); 7 U.S.C. § 13(a)(2) (commodities and swap manipulation); 18 U.S.C.

§ 371 (conspiracy to commit commodities fraud); 18 U.S.C. §§ 1343 and 1349 (wire fraud,

securities fraud, and conspiracy to commit the same); 18 U.S.C. §§ 1956(a)(1)(A)(i), 1956(h), and

1957 (concealment money laundering, illegal money transferring, and conspiracy to commit the

same), all in connection with a scheme to commit market manipulation on a platform called Mango

Markets, then launder the proceeds (the “Subject Offenses”).

         5. This affidavit is based upon my personal knowledge, my review of documents and

other evidence, and my conversations with other law enforcement officers, as well as my training

and experience concerning the use of electronic devices and messaging platforms in criminal

activity. Because this affidavit is being submitted for the limited purpose of establishing probable

cause, it does not include all the facts I have learned during my investigation. Where the contents

of documents and the actions, statements, and conversations of others are reported herein, they are

reported in substance and in part, except where otherwise indicated.



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    C. Services and Records of the Providers

         6. I have learned the following about Twitter, which is Provider-1:

                a. Twitter offers electronic messaging and online social media services. Twitter

allows its users to create their own profile pages, which can include a short biography, a photo of

themselves, and location information. Twitter also permits users to post and read 280-character

messages called “tweets,” and to restrict access to their “tweets” to individuals whom they

approve. In addition, Twitter's subscribers can send “direct messages,” or “DMs” to other

subscribers, which are typically only viewable by the sender and recipient of the direct message.

These features are described in more detail below. A subscriber using Twitter's services can access

his or her account from any computer or other electronic device connected to the Internet. In

addition to content that the user posts, Twitter, like many online social media providers, pulls and

stores identifying information when the user is active on the platform, including device identifiers

and Internet Protocol (“IP”) addresses of the user’s Internet connection to Twitter.

                b. Twitter maintains the following records and information with respect to every

subscriber account:

                       i.   Biographical Information. Twitter allows its users to create personal

profiles pages that are available to the public. These pages may include a short biography,

photographs, and location information of the user.

                      ii.   Subscriber and Billing Information. Twitter collects and maintains

identifying information about each subscriber, including, for example, name, username, address,

telephone number, and alternate email addresses. Twitter may “verify” some users, displaying a

blue checkmark beside the username to affirm to public viewers that the account belongs to the

person or entity that claims to operate it. Twitter may request and store verification data on those

user accounts it has verified, including copies of government-issued identification documents.

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Twitter also maintains records concerning the date the account was created, the IP address of the

user at the time of account creation, the current status of the account (e.g., active or closed), the

length of service, and the types of services utilized by the subscriber. Additionally, for paying

subscribers, Twitter maintains records of the subscriber's means and source of payment, including

any credit card or bank account number.

                     iii.   Tweets. As discussed above, Twitter’s users can use their accounts to

post “tweets” of 280 characters or fewer. Each tweet includes a timestamp that displays when the

tweet was posted. Twitter’s users can also “favorite,” “retweet,” or reply to tweets of other users,

or click a “share” button that allows users to link to the tweet on different outlets, including in

private messages. In addition, when a tweet includes a username, often proceeded by “@,” Twitter

designates that tweet a “mention” of the identified user. In the “Connect” tab for each account,

Twitter provides the user with a list of other users who have favorited or retweeted the user’s own

tweets, as well as a list of all the tweets that include the user’s username (i.e., a list of all mentions

and replies for that username). By enabling the “precise location” setting, Twitter’s users can also

choose to display location data in their tweets.

                     iv.    Media files. Twitter users can also include media such as images or

videos in their tweets. Each account is provided a user gallery, which stores media files that the

user has shared on Twitter's network, including images and videos that were uploaded from another

service.

                      v.    Link Information. Twitter's users can also include links to a website in

their tweets. By using Twitter's linking service, a longer website link can be converted into a

shortened link, which allows it to fit into the 280-character limit. The linking service measures

how many times a link has been clicked.



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                       vi.   Associated Users. A user can also “follow” other users, which means

that the user subscribes to the other users' tweets and site updates. Each user profile page includes

a list of the people who are following that user (i.e., the user's “followers” list) and a list of people

whom that user follows (i.e., the user's “following” list). Twitter's users can “unfollow” users

whom they previously followed, and they can also adjust the privacy settings for their profile so

that their tweets are visible only to the people whom they approve, rather than to the public (which

is the default setting). Limiting account visibility in this way is called “going private.” A user can

also group other users into “lists” that display on the right side of the user's home page.

                    vii.     Direct Messages. A user can also send direct messages, or DMs, to one

of his or her followers, or to other users whose settings accept messages from any Twitter

accountholder. The user may either click a “share” button on a tweet that generates a direct

message to another user that links to that tweet, or the user may start a direct message conversation

without linking to a tweet. These messages are visible only to the sender and the recipient. If one

party deletes the messages from his or her own account, the message and associated data may still

be stored on the other party’s account. In addition to retaining content of messages, Twitter retains

log data associated with them, analogous to call detail records.

                   viii.     Search Information. Twitter has at time included a search function that

enables its users to search all public tweets for keywords, usernames, or subject, among other

things.

                       ix.   Third-party Information. Users can connect their accounts to third-party

websites and applications, which may grant these websites and applications access to parts of the

users' account data.




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                       x.    Transactional Information. Twitter also typically retains certain

transactional information about the use of each account on its system. This information can include

records of logins, such as timestamps of activity, information about the user’s device, and IP

addresses used to access Twitter. Twitter calls this information “Log Data.”

                      xi.    Customer Correspondence. Twitter also typically maintains records of

any customer service contacts with or about the subscriber, including any inquiries or complaints

concerning the subscriber's account, and including reports and complaints that the subscriber has

made to Twitter about other accounts.

                      xii.   Preserved Records. Twitter also maintains preserved copies of the

foregoing categories of records with respect to an account, for at least 90 days, upon receiving a

preservation request from the Government pursuant to 18 U.S.C. § 2703(f).

         7. I have learned the following about Facebook, which is Provider-2:

                  a. Meta Platforms, Inc. owns and operates a free-access social networking website

called Facebook that can be accessed at http://www.facebook.com. Facebook allows its users to

establish accounts with Facebook, and users can then use their accounts to share written news,

photographs, videos, and other information with other Facebook users, and sometimes with the

general public.

                  b. Facebook asks users to provide basic contact and personal identifying

information to Facebook, either during the registration process or thereafter. This information may

include the user’s full name, birth date, gender, contact e-mail addresses, Facebook passwords,

physical address (including city, state, and zip code), telephone numbers, screen names, websites,

and other personal identifiers. Facebook also assigns a user identification number to each account.




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               c. Facebook users may join one or more groups or networks to connect and

interact with other users who are members of the same group or network. Facebook assigns a

group identification number to each group. A Facebook user can also connect directly with

individual Facebook users by sending each user a “Friend Request.” If the recipient of a “Friend

Request” accepts the request, then the two users will become “Friends” for purposes of Facebook

and can exchange communications or view information about each other. Each Facebook user’s

account includes a list of that user’s “Friends” and a “News Feed,” which highlights information

about the user’s “Friends,” such as profile changes, upcoming events, and birthdays.

               d. Facebook users can select different levels of privacy for the communications

and information associated with their Facebook accounts. By adjusting these privacy settings, a

Facebook user can make information available only to himself or herself, to particular Facebook

users, or to anyone with access to the Internet, including people who are not Facebook users. A

Facebook user can also create “lists” of Facebook friends to facilitate the application of these

privacy settings. Facebook accounts also include other account settings that users can adjust to

control, for example, the types of notifications they receive from Facebook.

               e. Facebook users can create profiles that include photographs, lists of personal

interests, and other information. Facebook users can also post “status” updates about their

whereabouts and actions, as well as links to videos, photographs, articles, and other items available

elsewhere on the Internet. Facebook users can also post information about upcoming “events,”

such as social occasions, by listing the event’s time, location, host, and guest list. In addition,

Facebook users can “check in” to particular locations or add their geographic locations to their

Facebook posts, thereby revealing their geographic locations at particular dates and times. A

particular user’s profile page also includes a “Wall,” which is a space where the user and his or



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her “Friends” can post messages, attachments, and links that will typically be visible to anyone

who can view the user’s profile.

               f. Facebook allows users to upload photos and videos, which may include any

metadata such as location that the user transmitted when s/he uploaded the photo or video. It also

provides users the ability to “tag” (i.e., label) other Facebook users in a photo or video. When a

user is tagged in a photo or video, he or she receives a notification of the tag and a link to see the

photo or video. For Facebook’s purposes, the photos and videos associated with a user’s account

will include all photos and videos uploaded by that user that have not been deleted, as well as all

photos and videos uploaded by any user that have that user tagged in them.

               g. Facebook users can exchange private messages on Facebook with other users.

Those messages are stored by Facebook unless deleted by the user. Facebook users can also post

comments on the Facebook profiles of other users or on their own profiles; such comments are

typically associated with a specific posting or item on the profile. In addition, Facebook has a chat

feature that allows users to send and receive instant messages through Facebook Messenger. These

chat communications are stored in the chat history for the account. Facebook also has Video and

Voice Calling features, and although Facebook does not record the calls themselves, it does keep

records of the date of each call.

               h. If a Facebook user does not want to interact with another user on Facebook, the

first user can “block” the second user from seeing his or her account.

               i. Facebook has a “like” feature that allows users to give positive feedback or

connect to particular pages. Facebook users can “like” Facebook posts or updates, as well as

webpages or content on third-party (i.e., non-Facebook) websites. Facebook users can also

become “fans” of particular Facebook pages.



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               j. Facebook has a search function that enables its users to search Facebook for

keywords, usernames, or pages, among other things.

               k. Each Facebook account has an activity log, which is a list of the user’s posts

and other Facebook activities from the inception of the account to the present. The activity log

includes stories and photos that the user has been tagged in, as well as connections made through

the account, such as “liking” a Facebook page or adding someone as a friend. The activity log is

visible to the user but cannot be viewed by people who visit the user’s Facebook page.

               l. Facebook also has a Marketplace feature, which allows users to post free

classified ads. Users can post items for sale, housing, jobs, and other items on the Marketplace.

               m. In addition to the applications described above, Facebook also provides its users

with access to thousands of other applications (“apps”) on the Facebook platform. When a

Facebook user accesses or uses one of these applications, an update about that the user’s access or

use of that application may appear on the user’s profile page.

               n. Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP

address. These logs may contain information about the actions taken by the user ID or IP address

on Facebook, including information about the type of action, the date and time of the action, and

the user ID and IP address associated with the action. For example, if a user views a Facebook

profile, that user’s IP log would reflect the fact that the user viewed the profile, and would show

when and from what IP address the user did so.

               o. Social networking providers like Facebook typically retain additional

information about their users’ accounts, such as information about the length of service (including

start date), the types of service utilized, and the means and source of any payments associated with

the service (including any credit card or bank account number). In some cases, Facebook users



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may communicate directly with Facebook about issues relating to their accounts, such as technical

problems, billing inquiries, or complaints from other users. Social networking providers like

Facebook typically retain records about such communications, including records of contacts

between the user and the provider’s support services, as well as records of any actions taken by

the provider or user as a result of the communications.

               p. As explained herein, information stored in connection with a Facebook account

may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal

conduct under investigation, thus enabling the United States to establish and prove each element

or alternatively, to exclude the innocent from further suspicion. In my training and experience, a

Facebook user’s IP log, stored electronic communications, and other data retained by Facebook,

can indicate who has used or controlled the Facebook account. This “user attribution” evidence is

analogous to the search for “indicia of occupancy” while executing a search warrant at a residence.

For example, profile contact information, private messaging logs, status updates, and tagged

photos (and the data associated with the foregoing, such as date and time) may be evidence of who

used or controlled the Facebook account at a relevant time. Further, Facebook account activity

can show how and when the account was accessed or used. For example, as described herein,

Facebook logs the Internet Protocol (IP) addresses from which users access their accounts along

with the time and date. By determining the physical location associated with the logged IP

addresses, investigators can understand the chronological and geographic context of the account

access and use relating to the crime under investigation. Such information allows investigators to

understand the geographic and chronological context of Facebook access, use, and events relating

to the crime under investigation. Additionally, Facebook builds geo-location into some of its

services. Geo-location allows, for example, users to “tag” their location in posts and Facebook



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“friends” to locate each other. This geographic and timeline information may tend to either

inculpate or exculpate the Facebook account owner. Last, Facebook account activity may provide

relevant insight into the Facebook account owner’s state of mind as it relates to the offense under

investigation. For example, information on the Facebook account may indicate the owner’s motive

and intent to commit a crime (e.g., information indicating a plan to commit a crime), or

consciousness of guilt (e.g., deleting account information in an effort to conceal evidence from

law enforcement).

                q. Therefore, the computers of Facebook are likely to contain all the material

described above, including stored electronic communications and information concerning

subscribers and their use of Facebook, such as account access information, transaction information,

and other account information.

         8. I have learned the following about Discord, which is Provider-3:

                a. Discord is a proprietary freeware voice over Internet protocol (VoIP)

application for gaming and other online communities. The Discord client was built on the Electron

framework using web technologies, which allows it to be multi-platform and run on personal

computers and websites. The Discord application has services such as free voice chat servers for

users and dedicated server infrastructure, video calling and screen sharing, direct calling, instant

messaging, videoconferences, and GameBridge API that allows game developers to support

integration with Discord within games. Discord users can create a “server” for free and then invite

other users to join the server in order to communicate with another user. A server can be

configured as public, meaning anyone can join, or it can be configured to be private. To participate

in a private server, a user must be invited by another user who already belongs to that private

server. Servers are broken down into subcategories, or “channels,” where users can connect with



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each other by chatting or calling. Users can also communicate through direct messages, which are

private chats created between 1-10 users.

               b. Discord users are able to create and maintain a friends list, participate in

multiple servers or communication channels, and set their current status indicator to appear online,

away, or invisible to other users. Discord servers can have multiple text-based and voice channels,

both public and private. Text messages sent in these channels are persistent, stay visible, and are

stored indefinitely. Users are able to communicate in only one channel at a time, but can easily

navigate between channels. Discord users are able to direct message or private message to other

Discord users. Discord users are able to view what game their Discord friends and other Discord

server members are playing.

               c. During the registration process for a Discord account, Discord asks subscribers

to provide basic client information to include, among other things, a username and email address.

Additionally, other online applications like Steam, Facebook, Spotify, and Twitter, can be

connected to a user’s Discord account. Discord can be used from within a web browser, can be

installed on a Windows, Mac, or Linux computer, or can be installed on an Apple iOS or Android

mobile device. Discord has an optional paid version called “Discord Nitro” that provides a user

with additional features.     Therefore, the computers of Discord likely contain information

concerning a user’s account and their use of Discord services and possibly other connected

services, such as account access information, email information, and account application and

payment information. Discord also assigns a user identification number to each account. In my

training and experience, such information may constitute evidence of the crimes under

investigation because the information can be used to identify and locate the account user(s).




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               d. Upon creating a Discord account, a Discord user is assigned a unique 18-digit

Discord user ID. The Discord user then must create a username (which includes a # and a four-

digit number) and an account password. The Discord user may change the username and password

without having to open a new Discord account.

               e. A subscriber using Discord’s services can access his or her account from any

computer connected to the Internet or by downloading the desktop or mobile Discord application.

               f. In my training and experience, service providers like Discord typically retain

certain transactional information about the creation and use of each account on their systems. This

information can include the date on which the account was created, the length of service, records

of login (i.e., session) times and durations, the types of service utilized, the status of the account

(including whether the account is inactive or closed), the methods used to connect to the account

(such as logging into the account via the provider’s website) and other log files that reflect usage

of the account. In addition, service providers often have records of the IP address 1 used to register

the account and the IP addresses associated with particular logins to and activity on the account.

Because every device that connects to the Internet must use an IP address, IP addresses can help

identify which computers or other devices were used to access the account.




1
  An IP address is a unique numeric address used by computers on the Internet. There are two types
of IP addresses used on the Internet today. The IPv4 address uses 32 bits and looks like a series of
four numbers, each in the range from 0-255, separated by periods - for example 123.4.56.78. Due
to the growth of the Internet, the creation of additional IP addresses was needed; therefore, a new
version of IP called 1Pv6, uses 128 bits for IP addresses - for example
2610:0020:6Fl5:0015:0000:0000:0000:0027, or its abbreviated form of 2610:20:6Fl5:15::27.
Every computer connected to the Internet must be assigned an IP address so that Internet traffic
may be directed properly from its source to its destination. Each IP address is uniquely assigned
to a single connected device at any single point in time.


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                 g. In some cases, Discord users may communicate directly with Discord about

issues relating to their account, such as technical problems, billing inquiries, or complaints from

other users.     Social networking providers like Discord typically retain records about such

communications, including records of contacts between the user and the provider’s support

services, as well as records of any actions taken by the provider or user as a result of the

communications.

                 h. The computers or servers of Discord are likely to contain all the material just

described, including stored electronic communications and information concerning subscribers

and their use of Discord, such as account access information, transaction information, and account

activation.

                 i. Based on the Discord Privacy Policy, last modified February 25, 2022, and

available online, I know the following about the collection of preservation of data at Discord: 2

                       i.   Discord collects information from users when they voluntarily provide

such information, such as when they register for access to the Discord application and related

Internet services (the “Services”). Information that Discord collects may include but not be limited

to username, email address, and any messages, images, transient VOIP data (to enable

communication delivery only) or other content users send via the chat feature.

                      ii.   When users interact with Discord through the Services, Discord receives

and stores certain information such as an IP address, device ID, and the user’s activities within the

Services. Discord may store such information or such information may be included in databases

owned and maintained by affiliates, agents or service providers. The Services may use such

information and pool it with other information to track, for example, the total number of visitors


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    See https://discordapp.com/privacy (last accessed March 20, 2022).

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to Discord’s website, the number of messages users have sent, and the domain names of visitors’

Internet service providers.

                    iii.      Discord may conduct research on its customer demographics, interests

and behavior based on the information collected. This research may be compiled and analyzed on

an aggregate basis, and Discord may share this aggregate data with its affiliates, agents, and

business partners. Discord may also disclose aggregated user statistics in order to describe its

services to current and prospective business partners, and to other third parties for other lawful

purposes.

                    iv.       Users may give Discord permission to collect their information in other

services. For example, a user may connect a social networking service (“SNS”) such as Facebook

or Twitter to their Discord account. When a user does this, it allows Discord to obtain information

from those accounts (for example, a user’s friends or contacts).

                     v.       Discord employs cookies and similar technologies to keep track of

users’ local computer’s settings such as which account users have logged into and notification

settings. Cookies are pieces of data that sites and services can set on a user’s browser or device

that can be read on future visits. Discord may expand its use of cookies to save additional data as

new features are added to the Service. In addition, Discord uses technologies such as web beacons

and single-pixel gifs to record log data such as open rates for emails sent by the system.

                    vi.       Discord may use third party web site analytic tools such as Google

Analytics on its website that employ cookies to collect certain information concerning use of its

Services. However, users can disable cookies by changing their browser settings.

                   vii.       A user may see a Discord Service advertised in other applications or

websites. After clicking on one of these advertisements and installing a Discord Service, the user



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will become a user of the Service. Advertising platforms, which include Twitter and Facebook

(and whose software development kits are integrated within Discord’s Service), may collect

information for optimizing advertising campaigns outside of the Service.

         9. I have learned the following about Google, which is Provider-4:

                a. Google offers to the public a variety of online services, including email, cloud

storage, digital payments, and productivity applications, which can be accessed through a web

browser or mobile applications using a username and password. Once logged into a Google

account, a user can connect to Google’s full suite of services offered to the general public.

                b. In particular, as relevant here, Google offers free, web-based email services to

the public. Specifically, Google allows subscribers to maintain email accounts through Gmail

under the domain gmail.com and other domain names chosen by the user or an enterprise. A

subscriber using Google’s services can access his or her email account from any computer

connected to the Internet.

                c. Google maintains the following records and information with respect to every

Google account that has email services:

                      i.     Email contents. In general, any email (which can include attachments

such as documents, images, and videos) sent to or from a subscriber’s account, or stored in draft

form in the account, is maintained on Google’s servers unless and until the subscriber deletes the

email. If the subscriber does not delete the email, it can remain on the Google’s computers

indefinitely. Even if the subscriber deletes the email, it may continue to be available on Google’s

servers for a certain period of time. Google also allows users to send emails in “confidential”

mode, which enables a user to set an expiration date for messages or revoke access at any time,




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and recipients of the confidential message will be unable to forward, copy, print, and download

the message.

                     ii.    Subscriber and billing information. Google collects and maintains

(typically unverified) identifying information about each subscriber, including, for example, name,

username, address, telephone number, recovery and alternate email addresses, and sign-in phone

numbers. A recovery email address, which can be associated with more than one Gmail account,

is used to regain access to an account if a password has been forgotten or a user has been locked

out of their account. An alternate email address is a non-Gmail account that a user has provided

that can be used to sign into a Gmail account. A sign-in phone number is a phone number that can

be used as a primary/additional login identifier to access an account. Google also maintains

records concerning the date on which the account was created, the Internet protocol (“IP”) 3 address

of the user at the time of account creation, the current status of the account (e.g., active or closed),

the length of service, and the types of Google services utilized by the subscriber. Finally, Google

maintains records regarding (1) fetching and forwarding email addresses, which are email accounts

from which the primary account receives emails and forwards emails, respectively; (2) email

aliases, domain aliases or separate domains associated with the account, which are means by which

accounts with other domain names or other email addresses can be associated with a primary

Google account; (3) other Google accounts that have access to the primary account, which access

can be granted by the user of the primary account; and (4) other email accounts that are associated

with the primary Google account.




3
 Based on my training and experience, each electronic device connected to the Internet must be
assigned an IP address so that communications from or directed to that electronic device are routed
properly.

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                    iii.   Device Information. Google may also collect and maintain information

identifying devices (including both computers and mobile devices) used to access accounts,

including, for example, device serial number, a GUID or Global Unique Identifier, a phone

number, MAC addresses, Electronic Serial Numbers (“ESN”), Mobile Electronic Identity

Numbers (“MEIN”), Mobile Equipment Identifiers (“MEID”), Mobile Identification Numbers

(“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber Integrated Services Digital

Network Number (“MSISDN”), International Mobile Subscriber Identifiers (“IMSI”), or

International Mobile Equipment Identities (“IMEI”).

                     iv.   Cookie Data.     Google typically uses features to track the activity of

users of its accounts, including whether or not the user of an account accesses other accounts at

Google using the same computer or device, or accesses accounts maintained by other companies

while logged into an account. One of the ways they do that is by using cookies, a string of

characters stored on the user’s computer or web browser that is recognized by Google when a

computer visits its site or logs into an account.

                     v.    Transactional information.      Google also typically retains certain

transactional information about the use of each account on its system, including records of login

and logout events relating to Google accounts, including user IP addresses and dates and

timestamps.

                     vi.   Customer correspondence. Google also typically maintains records of

any customer service contacts with or about the subscriber, including any inquiries or complaints

concerning the subscriber’s account.

                    vii.   Preserved and backup records. Google also maintains preserved copies

of the foregoing categories of records with respect to an account, for at least 90 days, upon



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receiving a preservation request from the Government pursuant to 18 U.S.C. § 2703(f). Google

may also maintain backup copies of the foregoing categories of records pursuant to its own data

retention policy.

               j. Google also maintains records with respect to other Google services, which it

stores in connection with a Google account and includes the following:

                      i.   Google Contacts.      Google provides an address book for Google

accounts through Google Contacts. Google Contacts stores contacts the user affirmatively adds to

the address book, as well as contacts the user has interacted with in Google products. Users can

send messages to more than one contact at a time by manually creating a group within Google

Contacts or communicate with an email distribution list called a Google Group. Google preserves

contacts indefinitely, unless the user deletes them.

                     ii.   Google Calendar. Google provides users with the ability to create and

maintain online calendars, in which they can add appointments, events, and reminders, which are

synchronized across registered computers and mobile devices. Users can share their calendars

with other users, allowing the maintenance of joint calendars. Google preserves appointments

indefinitely, unless the user deletes them.

                    iii.   Google Messaging Content.      Google provides several messaging

services including Duo, Messages, Hangouts, Meet, and Chat. These services enable real-time

text, voice, and/or video communications through browsers and mobile applications, and also

allow users to send and receive text messages, videos, photos, locations, links, and contacts.

Google may retain a user’s messages if the user has not disabled that feature or deleted the

messages.




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                    iv.    Google Drive content.      Google Drive is a cloud storage service

automatically created for each Google account. Users can store an unlimited number of documents

created by Google productivity applications like Google Docs (Google’s word processor), Google

Sheets (Google’s spreadsheet program), Google Forms (Google’s web form service), and Google

Slides (Google’s presentation program). Users can also upload files to Google Drive, including

photos, videos, PDFs, and text documents, until they hit the storage limit. Google provides users

with a certain amount of free storage, currently 15 gigabytes, and users can purchase a storage plan

through Google to store additional content. A user can access content stored on Google Drive by

logging into his or her Google account through any computer or other electronic device that is

connected to the Internet. Users can also share files stored on Google Drive with others and grant

those with access the ability to edit or comment. Google maintains a record of who made changes

and when to documents edited in Google applications. Android device users can also use Google

Drive to backup certain data from their device. Android backups on Google Drive may include

mobile application data, device settings, file downloads, and short message service (“SMS”)

messages. If a user subscribes to Google’s cloud storage service, Google One, they can opt to

backup all the data from their device to Google Drive. Google preserves files stored in Google

Drive indefinitely, unless the user deletes them.

                     v.    Google Maps. Google Maps is service which can be searched for

addresses or points of interest. Google Maps can provide users with turn-by-turn directions from

one location to another using a range of transportation options (driving, biking, walking, etc.) and

real-time traffic updates. Users can share their real-time location with others through Google Maps

by using the Location Sharing feature. If users log into their Google account while using Google




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Maps, they can save locations to their account, keep a history of their Google Maps searches, and

create personalized maps. Google stores Maps data indefinitely, unless the user deletes it.

                    vi.       Google Photos. Google Photos is a cloud-based photo and video storage

service through which users can share or receive photos and videos with others. Users have the

option to sync their mobile phone or device photos to Google Photos. Google also retains the

metadata—or data that provides information about the data in question, such as the time and date

of creation, the author or creator, the means of its creation, the purpose of the data, among other

data—for photos and videos that are uploaded to Google Photos if that data is included by the user

as part of the upload. This metadata includes what is known as exchangeable image file format

(or “Exif”) data, and can include GPS location information for where a photo or video was taken.

                    vii.      Google Voice. Google Voice is a service through which a Google

account can be assigned a telephone number that can be used to make, record, and forward phone

calls and send, receive, store, and forward SMS and MMS messages from a web browser, mobile

phone, or landline.        Google Voice also includes a voicemail service.     Records are stored

indefinitely, unless the user deletes them.

                   viii.      Location History data. Google collects and retains data about the

location at which Google account services are accessed from any mobile device, as well as the

periodic location of Android devices while they are in use. This location data can derive from a

range of sources, including GPS data, Wi-Fi access points, cell-site locations, geolocation of IP

addresses, sensor data, user searches, and Bluetooth beacons within range of the device. This

location data may be associated with the Google account signed-in or registered to the device when

Location Services are activated on the device and the user has enabled certain global settings for

their Google account, such as Location History or Web & App Activity tracking. Google



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maintains these records indefinitely for accounts created before June 2020, unless the user deletes

it. Accounts created after June 2020 auto-delete Location History after eighteen months unless the

user affirmatively changes the retention setting to indefinite retention or auto-deletion at three

months.

                     ix.   Chrome Browser and “My Activity” Data. Google offers a free web

browser service called Google Chrome which facilitates access to the Internet. Chrome retains a

record of a user’s browsing history and allows users to save favorite sites as bookmarks for easy

access. If a user is logged into their Google account on Chrome and has the appropriate settings

enabled, their browsing history, bookmarks, and other browser settings may be saved to their

Google account in a record called My Activity. My Activity also collects and retains data about

searches that users conduct within their own Google account or using the Google Internet search

engine available at http://www.google.com while logged into their Google account.

             k. As explained herein, information stored in connection with a Google account may

provide crucial evidence of the “who, what, why, when, where, and how” of the criminal conduct

under investigation, thus enabling the United States to establish and prove each element or

alternatively, to exclude the innocent from further suspicion. In my training and experience, a

Google user’s stored electronic communications, IP logs, and other data retained by Google, can

indicate who has used or controlled the Google account. This “user attribution” evidence is

analogous to the search for “indicia of occupancy” while executing a search warrant at a residence.

For example, subscriber information, email content, and stored documents and photos (and the

data associated with the foregoing, such as date and time) may be evidence of who used or

controlled the Google account at a relevant time. Further, Google account activity can show how

and when the account was accessed or used. For example, as described herein, Google logs the IP



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addresses from which users access their accounts along with the time and date. By determining

the physical location associated with the logged IP addresses, investigators can understand the

chronological and geographic context of the account access and use relating to the crime(s) under

investigation.    Such information allows investigators to understand the geographic and

chronological context of Google access, use, and events relating to the crime under investigation.

Finally, Google account activity may provide relevant insight into the Google account owner’s

state of mind as it relates to the offense under investigation. For example, information stored in

the Google account may indicate the owner’s motive and intent to commit a crime (e.g.,

information indicating a plan to commit a crime), or consciousness of guilt (e.g., deleting

information in an effort to conceal evidence from law enforcement).

    D. Jurisdiction and Authority to Issue Warrant

         10. Pursuant to 18 U.S.C. §§ 2703(a), (b)(1)(A) & (c)(1)(A), the Government may require

a provider of an electronic communications service or a remote computing service, such as the

Provider, to disclose all stored content and all non-content records or other information pertaining

to a subscriber, by obtaining a warrant issued using the procedures described in the Federal Rules

of Criminal Procedure.

         11. A search warrant under § 2703 may be issued by “any district court of the United States

(including a magistrate judge of such a court)” that “has jurisdiction over the offense being

investigated.” 18 U.S.C. § 2711(3)(A)(i).

         12. When the Government obtains records under § 2703 pursuant to a search warrant, the

Government is not required to notify the subscriber of the existence of the warrant. 18 U.S.C.

§ 2703(a), (b)(1)(A), (c)(2) & (3). Additionally, the Government may obtain an order precluding

the Provider from notifying the subscriber or any other person of the warrant, for such period as



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  the Court deems appropriate, where there is reason to believe that such notification will seriously

  jeopardize an investigation. 18 U.S.C. § 2705(b).

II. Probable Cause

      A. Probable Cause Regarding the Subject Offenses

           13.    On or about December 13, 2022, the Honorable Gabriel W. Gorenstein authorized

  a complaint charging AVRAHAM EISENBERG with committing commodities fraud, in violation

  of 7 U.S.C. §§ 9(1), 13(a)(5) and 17 C.F.R. § 180.1, and commodities manipulation, in violation

  of 7 U.S.C. § 13(a)(2), in connection with a scheme to commit market manipulation on a platform

  called Mango Markets. A copy of the complaint is attached hereto as Exhibit 1 and is incorporated

  by reference.

           14.    As explained in the Complaint:

                  a.   Mango Markets is a decentralized cryptocurrency exchange that has its own

  native crypto token, called MNGO. Investors can buy and sell MNGO and other cryptocurrencies

  on Mango Markets.       Investors on Mango Markets can also buy and sell perpetual futures

  (“Perpetuals”) based on the relationship between the value of MNGO and the value of a crypto

  stablecoin called USD Coin (“USDC”), which is designed to be pegged to the dollar. Perpetuals

  are “swaps” under the Commodity Exchange Act. An investor who buys a Perpetual for MNGO

  stands to profit if the value of MNGO rises relative to the value of USDC, and an investor who

  sells a Perpetual for MNGO stands to profit if the value of MNGO falls relative to the value of

  USDC. Finally, Mango Markets allows investors to borrow cryptocurrency from the exchange, in

  amounts based on the value of the borrower’s portfolio, and to withdraw that borrowed

  cryptocurrency. Compl. ¶¶ 4, 7-8.

                  b. In or about October 2022, AVRAHAM EISENBERG participated in a scheme

  to steal approximately $110 million by artificially manipulating the price of MNGO Perpetuals on

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Mango Markets (the “Market Manipulation Scheme”).            The scheme worked as follows:

EISENBERG used an account that he controlled on Mango Markets to sell a large amount of

Perpetuals for MNGO and used a separate account on Mango Markets to purchase those same

Perpetuals. In other words, EISENBERG sold himself MNGO Perpetuals. EISENBERG then

engaged in a series of large purchases of MNGO, with the objective of artificially increasing the

price of MNGO relative to USDC, which had the effect of increasing the price of MNGO

Perpetuals on Mango Markets. That purchasing achieved the desired effect, causing the price of

MNGO Perpetuals on Mango Markets to increase precipitously over the course of approximately

20 minutes. Over that time span of approximately 20 minutes, the price of MNGO Perpetuals rose

from approximately 0.0382 USDC/MNGO to approximately 0.54 USDC/MANGO, an increase of

approximately 1300 percent. Compl. ¶¶ 5, 9-17.

              c. As the price of MNGO Perpetuals on Mango Markets rose as a result of the

Market Manipulation Scheme perpetrated by AVRAHAM EISENBERG the value of the MNGO

Perpetuals that EISENBERG had purchased also rose. Because Mango Markets allows investors

to borrow and withdraw cryptocurrency based on the value of their assets on the platform, the

increase in the value of the MNGO Perpetuals EISENBERG had purchased allowed EISENBERG

to borrow, then withdraw, approximately $110 million worth of various cryptocurrencies from

Mango Markets, which came from deposits of other investors in the Mango Markets exchange.

When EISENBERG borrowed and withdrew that cryptocurrency, he had no intention to repay the

borrowed funds. Accordingly, after EISENBERG borrowed and withdrew essentially all of the

cryptocurrency deposits on the Mango Markets platform, EISENBERG ceased manipulating the

price of MNGO Perpetuals, causing the price of MNGO Perpetuals to fall significantly. Due to




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EISENBERG’s withdrawals, other investors with deposits on Mango Markets lost much, or all, of

those deposits. Compl. ¶¶ 5, 9-17.

         15.    As explained in the Complaint, virtual currencies, such as USDC, are

“commodities” under the Commodity Exchange Act (“CEA”). See, e.g., C.F.T.C. v. McDonnell,

287 F. Supp. 3d 213 (E.D.N.Y. 2018) (“A ‘commodity’ encompasses virtual currency both in

economic function and in the language of the statute.”); United States v. Reed, No. 20 Cr. 500

(JGK), 2022 WL 597180, at *3 (S.D.N.Y. Feb. 28, 2022) (finding “defendant had ample notice

from the broad definition of commodities under the CEA that cryptocurrencies were within the

definition of commodities”). Accordingly, Perpetuals based on the relative value of MNGO and

USDC are “swaps” under the CEA. See 7 U.S.C. § 1(47)(A).

         16. Based on the foregoing, and the information in the Complaint, I respectfully submit

there is probable cause to believe that AVRAHAM EISENBERG engaged in the Subject

Offenses. 4

    B. Probable Cause Regarding the Subject Accounts and the Subject Servers

         17.    As explained below, there is probable cause to believe that the Subject Accounts

and the Subject Servers will contain evidence of the Subject Offenses.

                             Subject Account-1 – Twitter Account

         18. As explained above, Subject Account-1 is a Twitter account with the username

@avi_eisen (“Subject Account-2”), accessed at the URL https://twitter.com/avi_eisen.

         19. There is probable cause to believe AVRAHAM EISENBERG uses Subject Account-


4
  Although the Complaint only charges commodities fraud and commodities manipulation, I
respectfully submit that there is probable cause to believe that the conduct described in the
Complaint and in this Affidavit also constitutes wire fraud, in violation of 18 U.S.C. §§ 1343 and
1349, money laundering, in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i), 1956(h), and 1957, and
conspiring to commit those offenses.

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1 because it has his name in the username and has, in the past, displayed a user photograph that I

know was an image of EISENBERG based on my review of his passport photograph and other

images of him.

         20. Based on my review of publicly available posts on Twitter, there is probable cause to

believe that Subject Account-1 contains evidence of EISENBERG’s involvement in the Market

Manipulation Scheme. Specifically:

                 a. As explained above, on or about October 15, 2022, Subject Account-1

displayed a post in which EISENBERG stated, in substance and in part, that he and others

“operated a highly profitable trading strategy last week” that “took place on[] Mango Markets”

and resulted in Mango Markets becoming “insolvent.”

                 b. On or about October 20, 2022, Subject Account-1 also displayed a post stated,

in part, that “Mango used switchboard, not Pyth.” Based on my review of publicly available

records about Mango Markets, I understand that this is a reference to the type of “oracle” used by

Mango Markets for setting the price of Perpetuals.

         21. Moreover, based on my review of publicly available posts on Twitter, I have learned,

in substance and in part, that Subject Account-1 displays multiple posts of Department of Justice

announcements related to financial fraud, including market manipulation, which is evidence that

EISENBERG knew he was breaking the law when he committed the Market Manipulation

Scheme.

         22. Finally, based on my training and experience, and as explained above, I know that in

addition to making public posts, Twitter users can also exchange “direct messages” with one

another that are not publicly available. There is probable cause to believe that EISENBERG uses

the direct messaging function because, based on my review of publicly available Twitter posts, I



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know that Subject Account-1 has posted tweets that contain numerous references to EISENBERG

communicating through “DM,” which is a commonly used abbreviation for direct messaging.

                              Subject Account-2 – Facebook Account

         23. As explained above, Subject Account-2 is a Facebook account with the username

“Avraham        Eisenberg”,      accessed    at        https://www.facebook.com/people/Avraham-

Eisenberg/100009952574823/.

         24. There is probable cause to believe that AVRAHAM EISENBERG uses Subject

Account-2 because the username is his name and publicly available photographs show

EISENBERG, whom I recognize from reviewing EISENBERG’s passport photograph and other

images and videos of him.

         25. There is probable cause to believe Subject Account-2 will contain evidence of the

Subject Offenses. Based on my participation in an interview of an individual (“Individual-1”) who

contacted law enforcement following the Market Manipulation Scheme, 5 I have learned, in

substance and in part, the following:

                a. Individual-1 met EISENBERG online approximately two years ago through

Facebook. Individual-1 identified Subject Account-2 as EISENBERG’s Facebook account.

Individual-1 and EISENBERG had shared mutual interests, so they communicated with one

another over, among other things, Facebook Messenger (which is Facebook’s messaging tool),

Discord, and an encrypted messaging application called Signal.

                b. EISENBERG communicated about the Market Manipulation Scheme before

and after carrying it out on a Discord server called “CSP Trading,” which is Subject Server-1 and


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  Individual-1 stated, in substance and in part, that Individual-1 was involved in cryptocurrency
trading and was interested in potentially receiving compensation for providing information to law
enforcement.

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is discussed in greater detail below. EISENBERG deleted some of his messages from Subject

Server-1 after carrying out the Market Manipulation Scheme. Individual-1 described to me

Subject Server-1 and identified some of the places where EISENBERG had deleted messages.

                   c. EISENBERG typically communicated with Individual-1 over Facebook and an

encrypted messaging application called Signal.             Individual-1’s communications with

EISENBERG included communications about Mango Markets and EISENBERG leaving the

country to Israel after committing the Market Manipulation Scheme because he was afraid of

prosecution. Individual-1 believed that these communications may have occurred on Signal, but

was unsure. 6

                   d. Individual-1 also stated that EISENBERG communicated with Individual-1 and

others over Facebook about cryptocurrency trading, including trading for which, I know based on

publicly available records from Twitter and Discord, EISENBERG had been accused of fraud and

market manipulation.

         26. Based on my communications with other law enforcement officers and my review of

travel records, I have corroborated that, on or about October 12, 2022—right after the Mango

Market manipulation scheme—EISENBERG traveled from the United States to Israel, then

returned to the United States on or about December 26, 2022.

             Subject Accounts-3 to -4 and Subject Server-1– Discord Accounts and Server

         27. Based on my training and experience, and as explained above, Discord is an online



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  Individual-1 stated, in substance and in part, that Individual-1 had taken screenshots and screen
recordings of his communications with EISENBERG about the Mango Market manipulation
scheme. Individual-1 stated that Individual-1 would send me those screenshots and recordings,
but has not done so. Individual-1 also stated, in substance and in part, that he did not know whether
EISENBERG worked with others in committing the Subject Offenses, but believed EISENBERG
worked alone.

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service that is, among other things, a messaging platform where users can exchange text or voice

messages. Discord users can create a “server” for free and then invite other users to join the server

in order to communicate with another user. A server can be configured as public, meaning anyone

can join, or it can be configured to be private. To participate in a private server, a user must be

invited by another user who already belongs to that private server. Servers are broken down into

subcategories, or “channels,” where users can connect with each other by chatting or calling.

         28. As explained above, Subject Server-1 is a Discord server available at

discord.gg/9RjPjCdGwK and with Server ID 782504674103656489.

         29. Based on my review of messages from Subject Server-1 and data from Discord, I have

learned, in substance and in part, the following:

                a. Subject Server-1 is named “CSP Trading,” and that it contains multiple

channels where users post messages.

                b. Numerous users post messages on Subject Server-1’s channels, including:

(i) the user of Subject Account-3, which has the username AvrahamEisenberg#5451, the user ID

470697531823620116, and also uses the vanity name “Vires Creditor and Honest Person”; and

(ii) the user of Subject Account-4, which has the username CrunchWrapSupreme#1469 and the

user ID 281233046227779585 and also uses the vanity name “CSP Trading.”

                c. There is probable cause to believe that EISENBERG uses Subject Account-3

because, among other things, the username contains his name and the account lists the same

address listed on a cryptocurrency account at Circle (identified in the Complaint as “Circle

Account-1”) that, as explained in the Complaint, I know EISENBERG uses because he provided

his passport to open the account.

         30. Based on my review of messages from Subject Server-1, there is probable cause to



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believe that Subject Server-1 will contain evidence of the Subject Offenses for, among other

things, the following reasons:

               a. On or about October 11 and October 12, 2022, multiple users on Subject

Server-1 wrote posts accusing EISENBERG, who was a regular poster on Subject Server-1, of

being responsible for the Mango Market manipulation scheme.

               b. On or about October 12, 2022, Subject Account-3 made multiple posts on

Subject Server-1 making fun of Mango Markets. For example, at approximately 4:36 a.m.,

Subject Account-3 posted a screenshot of a tweet from another user stating “Apple made $94

billion last year[,] Mangos lost $115 million today[,] Investing in fruit is unpredictable.” Similarly,

at approximately 4:43 a.m., Subject Account-3 posted a link to a reddit page about the Mango

Markets manipulation scheme and wrote, in part, “Comments here pretty positive . . . the mango

discord suffers from selection bias.”

               c. Subject Account-3 continued to post regularly on Subject Server-1 through

the rest of October, including about the Mango Markets manipulation scheme. For example:

                    i. On or about October 16, 2022, at approximately 10:25 p.m., Subject

Account-3 posted: “Protip: always make sure your odds of being a billionaire is greater than odds

of being in jail[.] And you’ll do fine.”

                   ii.   On or about October 17, 2022, at approximately 10:59 p.m., Subject

Account-3 posted a series of messages about having more Twitter followers than a leader of

Mango Labs, which built Mango Markets.

                  iii. On or about October 19, 2022, at approximately 10:19 p.m., Subject

Account-3 posted a screenshot of odds about EISENBERG’s future, including, among others,

“[w]hich protocol will Avraham Eisenberg plunder next” and “[w]ill Avraham Eisenberg spend at



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least 6 months in jail before the end of 2030.”

                    iv. On or about October 20, 2022, at approximately 12:25 a.m., Subject

Account-3 posted a link to a Tweet about the Mango Market manipulation scheme being

entertaining, followed by the text: “It’s amazing how much funnier you get after you have 47

million dollars.”

                    v. On or about October 22, 2022, at approximately 6:50 p.m., Subject

Account-3 posted a link to a Tweet about an individual (“Individual-2”) calling the Mango

Markets manipulation scheme “market manipulation,” followed by the text: “Big talk from market

manipulator [Individual-2]” and asking for a link to information about Individual-2’s market

manipulation scheme.

                    vi. On or about October 25, 2022, at approximately 8:09 a.m., Subject

Account-3 tweeted a link to a podcast in which EISENBERG was interviewed about the Mango

Market manipulation scheme.

         31. There is also probable cause to believe that Subject Accounts-3 and -4 contain

evidence of the Subject Offenses, including in posts on servers other than Subject Server-1.

Specifically, based on my review of messages on Subject Server-1 and on a public article about

the Mango Market manipulation scheme, I have learned, in substance and in part, the following:

               a. As explained above, EISENBERG used Subject Account-3 and used that

account to post frequently about the Mango Market manipulation scheme on Subject Server-1.

Based on my training and experience, I know that individuals who use Discord often post on

multiple servers, including private servers, because it allows them to talk with different groups of

people or with specific individuals. Accordingly, there is probable cause to believe that Subject

Account-3 contains communications about the Subject Offenses beyond what is available on



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Subject Server-1.

                  b. Consistent with my training and experience, there is probable cause to believe

Subject Account-3 communicated separately with Subject Account-4 about efforts to cover up

EISENBERG’s planning for the Mango Market manipulation scheme. Specifically:

                      i. On or about October 12, 2022—which is after the Mango Market

manipulation scheme but before EISENBERG admitted his involvement in that scheme—a

publicly available post on Substack, which is a blogging platform, accused EISENBERG of

committing the exploit and posted what appear to be messages from Discord, in which Subject

Account-3 posted about some of the steps that EISENBERG later took in carrying out the Mango

Market manipulation scheme.

                     ii. Subject Server-1 contains portions of the messages in the screen shots

described above, but not all of them, and has notations that certain messages have been deleted.

Based on my training and experience and my review of Discord servers, I understand this means

that some of the messages that appeared on screenshots in the blog post described above were

likely deleted.

                  c. Consistent with my training and experience, multiple users on Subject Server-

1 posted about incriminating messages from Subject Account-3 being deleted from Subject

Server-1. Those users accused the user of Subject Account-4, who was a moderator of Subject

Server-1, of deleting messages at EISENBERG’s request.

                  d. When confronted with these accusations, the user of Subject Account-4 did

not deny them and, at times, defended EISENBERG. For example:

                      i. On or about October 12, 2022, at approximately 12:20 a.m., a user who had

posted screenshots of Subject Account-3’s posts that appeared on the blog post described above



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wrote a post directed at Subject Account-4 asking, in substance and in part, whether Subject

Account-4 had deleted the screenshots. Subject Account-4 cryptically responded, “go padres,”

then wrote “I hear hes already fled the usa.”

                   ii. On or about October 12, 2022, at approximately 12:26 a.m., a different user

asked, in substance and in part, why Subject Account-4 would be deleting messages for

EISENBERG. Approximately one minute later, Subject Account-4 wrote: “avi did nothing

wrong,” using a shorthand for EISENBERG’s first name.

                   iii. On or about October 12, 2022, at approximately 1:42 a.m., after additional

attempts by other users to re-post Subject Account-3’s incriminating messages, Subject Account-

4 posted: “[T]his should be a safe collaborative space to say what ur working on [without] worrying

about people taking screenshots and posting them elsewhere,” in an apparent reference to the blog

post described above.

                e. Based on my training and experience, the fact that the user of Subject Account-

4 appears to have been deleting messages from Subject Server-1 for EISENBERG and appears

to have known that EISENBERG left the United States shortly after the Mango Market

manipulation scheme suggests that the users of Subject Account-4 was communicating separately

with EISENBERG about the aftermath of the Mango Market manipulation scheme.

                          Subject Accounts-5 to -7 – Google Accounts

         32. As explained above, Subject Account-5 is a Google account associated with the email

address bochen.clean@gmail.com, Subject Account-6 is a Google account associated with the

email address avi@thimessolutions.com, and Subject Account-7 is a Google account associated

with the email address 613ike@gmail.com.

         33. I have learned that Subject Account-5 was used to perpetrate the Market Manipulation



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Scheme. Specifically, based on my review of records from a cryptocurrency exchange (identified

in the Complaint and herein as “Exchange-1”), as well as my review of records from Google, I

have learned, in substance and in part, the following:

                a. As explained in the Complaint, on or about September 19, 2022, an account

(identified in the Complaint and herein as the “Exchange-1 Account”) was opened at Exchange-1,

using a passport and personal identifying information that appears to belong to a Ukrainian woman,

along with the email address for Subject Account-5. See Comp. ¶ 14.

                b. As explained in the Complaint, the Exchange-1 Account received over 12

million USDC from Circle Account-1, which is EISENBERG’s account at Circle, then sent a large

portion of those funds to other cryptocurrency wallets that EISENBERG used to carry out the

Market Manipulation Scheme. See Compl. ¶ 10.

                c. Moreover, as explained in the Complaint, the Exchange-1 Account purchased

a large quantity of MNGO using USDC, as part of EISENBERG’s effort to manipulate the price

of MNGO Perpetuals in the Market Manipulation Scheme. See Compl. ¶ 14.

         34. I have also learned that EISENBERG appears to control the Exchange-1 Account and

Subject Account-5, as well as Subject Accounts-6 and -7. Specifically, based on my review of

records from Google, I have learned, in substance and in part, the following:

                a. As explained above, Circle Account-1, which is EISENBERG’s account, sent

over 12 million USDC to the Exchange-1 Account. Based on my training and experience, I know

that one account sending such a large amount of cryptocurrency to another account, without

appearing to receive any cryptocurrency in return, is often strong evidence that the same individual

owns both cryptocurrency accounts.

                b. As explained above, the Exchange-1 Account was created on or about



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September 19, 2022, using the email address for Subject Account-5 as the email address for the

account. Based on my review of records from Google, I have learned that Subject Account-5 was

created on or about September 1, 2022 – just a few weeks before the Exchange-1 Account was

opened. Based on my training and experience, I know that individuals who commit financial fraud

online often create new email accounts specifically for the criminal scheme, and the short period

of time between Subject Account-5 opening and the Market Manipulation Scheme is strong

evidence that Subject Account-5 was created specifically for the crime.

                c. Google records show that the recovery email address for Subject Account-5 is

the email address for Subject Account-6, which is registered to “Avi Eisenberg.” Based on my

participation in this investigation, I know that “Avi” is one of EISENBERG’s nicknames.

Moreover, Subject Account-6 has, as a recovery email address, Subject Account-7, which is also

registered to “Avraham Eisenberg.”       Finally, Subject Account-5, Subject Account-6, and

Subject Account-7 all have the same phone number (“Phone Number-1”) listed as the recovery

phone number.

                d. Phone Number-1 is also listed as the contact phone number for Circle Account-

1, which I know is EISENBERG’s account for the reasons given in the Complaint.

                e. Accordingly, there is probable cause to believe that EISENBERG controls

Subject Accounts-5 through -7.

         35. There is probable cause to believe Subject Accounts-5 through -7 will contain

evidence of, and are instrumentalities of, the Subject Offenses, for the following reasons:

                a. As explained above, Subject Account-5 is the email address listed for the

Exchange-1 Account, which was used to perpetrate the Market Manipulation Scheme. Data from

Subject Account-5 – including emails, payment information, chat records, location data, IP data,



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and any saved documents or photographs – will provide information about the identity of the

individual or individuals who created and used Subject Account-5, including to set up and access

the Exchange-1 Account.

              b. Similarly, as explained above, Subject Account-6 is listed as the recovery

email address for Subject Account-5. Data from Subject Account-6 – including emails, payment

information, chat records, location data, IP data, and any saved documents or photographs – will

provide information about the identity of the individual or individuals who created and used

Subject Account-5, including to set up and access the Exchange-1 Account. Moreover, because

Subject Account-6 preceded Subject Account-5 and, as explained above, it appears that

EISENBERG created Subject Account-5 to commit the Market Manipulation Scheme using

someone else’s identity, there is probable cause to believe Subject Account-6 will contain

communications, documents, chats, and other records about the Market Manipulation Scheme,

decision to use Subject Account-5 rather than Subject Account-6, and efforts to obtain the

personal identifying information used to create Subject Account-5 and the Exchange-1 Account.

              c. Additionally, as explained above, EISENBERG controls Subject Account-7

and listed that account as the recovery email address for Subject Account-6. Google records show

that Subject Account-7 includes a “Google Voice” account for Phone Number-1. As explained

above, Phone Number-1 is listed as the contact phone number for Subject Account-6, Subject

Account-5, and Circle Account-1. Accordingly, data from Subject Account-7 – including emails,

payment information, chat records, location data, IP data, and any saved documents or photographs

– will provide information about the identity of the user of Phone Number-1 and, therefore, the

users of Subject Account-6, Subject Account-5, and Circle Account-1.

              d. Google records show that the user of Subject Account-7 (who, as explained



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above, is believed to be EISENBERG) accessed Subject Account-7 in the days leading up to the

Market Manipulation Scheme, the day of the Market Manipulation Scheme, and the days after the

Market Manipulation Scheme. That access included using Phone Number-1 to send and receive

phone calls, receive voice messages, and send and receive text messages. As explained above and

in the Complaint, I know that EISENBERG communicated with others about the Market

Manipulation Scheme both before and after the crime, and that he publicly referred to committing

the Market Manipulation Scheme with a team. Accordingly, there is probable cause to believe

that Subject Account-7 will contain communications about the Subject Offenses, as well as

information that will help identify any co-conspirators in the Subject Offenses.

         36. Finally, based on my training and experience, I know that individuals involved in

financial crimes often use Google accounts, such as Subject Accounts-5 through -7, to receive,

send, and store financial information, including information about bank accounts and

cryptocurrency accounts. Individuals also often us Google accounts to receive, send, store, and

maintain ledgers and documents, including ledgers containing information about the location of

assets and documents reflecting research about cryptocurrency platforms and potential fraud

schemes.

         37. For the foregoing reasons, there is probable cause to believe that Subject Accounts-5

through -7 will contain evidence of, and are instrumentalities of, the Subject Offenses.

         38. Time Limitation. As described above, the Market Manipulation Scheme took place

principally on or about October 11, 2022, when the trades and movements of cryptocurrency

discussed above were executed. Based on my training and experience and my participation in this

investigation, I know that the Market Manipulation Scheme likely took months to plan because it

required millions of dollars’ worth of cryptocurrency and a detailed understanding of complicated



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facts about Mango Markets, such as the prices used by the Mango Markets “oracle” and the amount

of MNGO purchasing needed to significantly increase the price of MNGO Perpetuals. Moreover,

based on my training and experience and my participation in this investigation, I know that

EISENBERG likely continued to create evidence of the Market Manipulation Scheme for months

after October, both through moving the proceeds of that offense and discussing it with others,

including in the podcasts described above. Accordingly, I respectfully request that the warrants

authorize the collection of data from July 1, 2022 to the present.

    C. Evidence, Fruits and Instrumentalities

         39.      Based upon the foregoing, I respectfully submit there is probable cause to believe

that information stored on the Providers’ servers associated with the Subject Accounts and the

Subject Server will contain evidence, fruits, and instrumentalities of the Subject Offenses, as more

fully described in Section II of Attachment A to the proposed warrant, which is incorporated by

reference herein.

         40.      In particular, I believe the Subject Accounts and the Subject Server are likely to

contain the following information:

               a. Records relating to the creation and users of the Subject Accounts and the Subject

Servers;

               b. Evidence of the creation and use of cryptocurrency wallets and accounts on

cryptocurrency exchanges used in preparing for, perpetrating, or receiving funds from the Subject

Offenses;

               c. Evidence, including documents, images, and communications, reflecting any

preparation for the Subject Offenses, including but not limited evidence reflecting research about

manipulating cryptocurrency prices; research about potential targets for market manipulation; tests

of purchasing and selling MNGO or MNGP Perpetuals; tests of transferring cryptocurrency to and

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from Mango Markets and other cryptocurrency exchanges used in the Subject Offenses; the

planned steps in the Subject Offenses; the anticipated timing of the Subject Offenses; and planning

for laundering funds from the Subject Offenses;

             d. Evidence, including documents, images, and communications, reflecting acts in

furtherance of the Subject Offenses and the transfer of funds obtained from the Subject Offenses;

             e. Evidence, including documents, images, and communications, reflecting efforts to

avoid to destroy or conceal information about the Subject Offenses, including but not limited to

efforts to delete messages about the Subject Offenses and to prevent victims of the Subject

Offenses from reporting information about the scheme to law enforcement;

             f. Evidence, including documents, images, and communications, relating to

AVRAHAM EISENBERG’s relocation from the United States to Israel shortly after committing

the Subject Offenses;

             g. Evidence, including documents, images, and communications, reflecting

AVRAHAM EISENBERG’s knowledge of the laws prohibiting wire fraud, securities fraud,

commodities fraud, and market manipulations, including but not limited to evidence of

EISENBERG’s participation in lawsuits involving laws related to those subjects and

EISENBERG’s research or communication about lawsuits and criminal cases related to those

subjects;

             h. Evidence reflecting the identities of, and communications among, any co-

conspirators in the Subject Offenses;

             i. Evidence, including documents and communications, reflecting the state of mind

of AVRAHAM EISENBERG and other participants in the Subject Offenses, including




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communications reflecting false (purportedly exculpatory) explanations of any participant’s

involvement in the Subject Offenses;

             j. Information that would assist in identifying and locating victims or witnesses;

             k. Documents, spreadsheets, communications, and ledgers tracking cryptocurrency

transfers and/or cryptocurrency payments;

             l. Passwords or other information needed to access or identify computer or other

online accounts, storage media, or other places where additional evidence, fruits, or

instrumentalities of the Subject Offenses may be located;

             m. Information pertaining to cryptocurrency digital wallets that may contain proceeds

of the Subject Offenses;

             n. Information relating to the ownership and disposition of criminal proceeds,

including bank accounts, cryptocurrency wallets, accounts with centralized cryptocurrency

exchanges, and other financial accounts;

             o. Evidence relating to the use of financial accounts and transactions in furtherance of

the Subject Offenses (including the means and methods used to obtain the accounts and funds

therein, and how the transactions were undertaken);

             p. Evidence concerning the technical expertise of AVRAHAM EISENBERG and any

other participants in the Subject Offenses;

             q. Location data, including but not limited to geolocation reporting and location

history data and metadata associated with other files that would place AVRAHAM EISENBERG

and any co-conspirators and aiders and abettors in the Subject Offenses, as well as the devices they

used, in specific places at specific times, and would indicate the use of their devices during those

times;



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                  r. Information regarding the registration of other email accounts, computer servers,

   or other computer network infrastructure, including servers and Internet domains, or online

   communications facilities, payment for such online facilities or services, transfers of funds in

   furtherance of the Subject Offenses, and proceeds of the Subject Offenses; and

                  s. Evidence concerning any other online accounts, any computer devices or servers,

   or any other location where evidence falling within the foregoing categories could be stored,

   including any passwords or encryption keys needed to access such evidence.

            2. In addition to there being probable cause that the Subject Accounts and Subject Server

   contain evidence of the Subject Offenses, there is also probable cause to believe that they are

   instrumentalities of the Subject Offenses. Based on my training and experience, my conversations

   with other law enforcement officers, and my participation in this investigation, I know that when

   an individual uses electronic accounts to engage in financial crimes, including market

   manipulation, those accounts will generally serve both as an instrumentality for committing the

   crime and as a storage medium for evidence of the crime. The accounts are instrumentalities of

   the crime because they were a means of committing the criminal offense.

III. Review of the Information Obtained Pursuant to the Warrant

            41.      Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

   required for service of a search warrant issued under § 2703, or for the collection or production of

   responsive records. Accordingly, the warrant requested herein will be transmitted to the Provider,

   which shall be directed to produce a digital copy of any responsive records to law enforcement

   personnel within 30 days from the date of service. Law enforcement personnel (who may include,

   in addition to law enforcement officers and agents, attorneys for the government, attorney support

   staff, agency personnel assisting the government in this investigation, and outside technical experts

   under government control) will retain the records and review them for evidence, fruits, and

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  instrumentalities of the Subject Offenses as specified in Section III of Attachment A to the

  proposed warrant.

           42.   In conducting this review, law enforcement personnel may use various methods to

  locate evidence, fruits, and instrumentalities of the Subject Offenses, including but not limited to

  undertaking a cursory inspection of all emails within the Subject Account. This method is

  analogous to cursorily inspecting all the files in a file cabinet in an office to determine which paper

  evidence is subject to seizure. Although law enforcement personnel may use other methods as

  well, particularly including keyword searches, I know that keyword searches and similar methods

  are typically inadequate to detect all information subject to seizure. As an initial matter, keyword

  searches work only for text data, yet many types of files commonly associated with emails,

  including attachments such as scanned documents, pictures, and videos, do not store data as

  searchable text. Moreover, even as to text data, keyword searches cannot be relied upon to capture

  all relevant communications in an account, as it is impossible to know in advance all of the unique

  words or phrases that investigative subjects will use in their communications, and consequently

  there are often many communications in an account that are relevant to an investigation but that

  do not contain any keywords that an agent is likely to search for.

IV. Request for Non-Disclosure and Sealing Order

           43.   The existence and scope of this ongoing criminal investigation is not publicly

  known. As a result, premature public disclosure of this affidavit or the requested warrant could

  alert potential criminal targets that they are under investigation, causing them to destroy evidence,

  flee from prosecution, or otherwise seriously jeopardize the investigation. The targets of this

  investigation include sophisticated computer users who known to use computers and electronic

  communications in furtherance of their activity and thus could easily delete, encrypt, or otherwise

  conceal such digital evidence from law enforcement were they to learn of the Government’s

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  investigation. See 18 U.S.C. § 2705(b)(3). In light of my background and experience, I know that

  in many cyber investigations, targets have destroyed internet infrastructure and deleted accounts

  and servers upon learning that the infrastructure may have been identified as being part of the

  criminal scheme. See 18 U.S.C. § 2705(b)(3).

           44.   Accordingly, there is reason to believe that, were the Providers to notify the

  subscribers or others of the existence of the warrant, the investigation would be seriously

  jeopardized. Pursuant to 18 U.S.C. § 2705(b), I therefore respectfully request that the Court direct

  the Providers not to notify any person of the existence of the warrant for a period of one year from

  issuance, subject to extension upon application to the Court, if necessary.

           45.   For similar reasons, I respectfully request that this affidavit and all papers submitted

  herewith be maintained under seal until the Court orders otherwise, except that the Government

  be permitted without further order of this Court to provide copies of the warrant and affidavit as

  need be to personnel assisting it in the investigation and prosecution of this matter, and to disclose

  those materials as necessary to comply with discovery and disclosure obligations in any

  prosecutions related to this matter.

V.Conclusion

           46.   Based on the foregoing, I respectfully request that the Court issue the warrant

  sought herein pursuant to the applicable provisions of the Stored Communications Act, 18 U.S.C.




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§ 2703(b)(1)(A) (for contents) and § 2703(c)(1)(A) (for records and other information), and the

relevant provisions of Federal Rule of Criminal Procedure 41.

                                                            /s authorized electronic signature
                                                           ________________________________
                                                           BRANDON RACZ
                                                           Special Agent, FBI



Sworn to me through the transmission of this
Affidavit through reliable electronic means, pursuant to
Federal Rules of Criminal Procedure 41(d)(3) and 4.1,
this ___day
      6t     of January, 2023


_________________________________
HONORABLE SARAH NETBURN
United States Magistrate Judge
Southern District of New York




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

  In the Matter of a Warrant for All
                                                     23 MAG 122
  Content and Other Information
  Associated with a Twitter Account
  with      Username      @avi_eisen,
  Maintained at Premises Controlled by
  Twitter, Inc., USAO Reference No.
  2022R00646


             SEARCH WARRANT AND NON-DISCLOSURE ORDER
TO:    Twitter Inc. (“Provider”)

       Federal Bureau of Investigation (“Investigative Agency”)

       1. Warrant. Upon an affidavit of Special Agent Brandon Racz of the Investigative

Agency, and pursuant to the provisions of the Stored Communications Act, 18 U.S.C.

§ 2703(b)(1)(A) and § 2703(c)(1)(A), and the relevant provisions of Federal Rule of Criminal

Procedure 41, the Court hereby finds there is probable cause to believe that a Twitter account with

the username @avi_eisen (the “Subject Account”) and account ID 2839135427, accessed at the

URL https://twitter.com/avi_eisen and maintained and controlled by Twitter Inc., headquartered

at 1355 Market Street, Suite 900, in San Francisco, California, contains evidence, fruits, and

instrumentalities of crime, all as specified in Attachment A hereto. Accordingly, the Provider is

hereby directed to provide to the Investigative Agency, within 30 days of the date of service of

this Warrant and Order, the records specified in Section II of Attachment A hereto, for subsequent

review by law enforcement personnel as authorized in Section III of Attachment A.              The

Government is required to serve a copy of this Warrant and Order on the Provider within 14 days

of the date of issuance. The Warrant and Order may be served via electronic transmission or any

other means through which the Provider is capable of accepting service.




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          2. Non-Disclosure Order. Pursuant to 18 U.S.C. § 2705(b), the Court finds that there is

reason to believe that notification of the existence of this warrant will result in destruction of or

tampering with evidence, or otherwise will seriously jeopardize an ongoing investigation.

Accordingly, it is hereby ordered that the Provider shall not disclose the existence of this Warrant

and Order to the listed subscriber or to any other person for a period of one year from the date of

this Order, subject to extension upon application to the Court if necessary, except that Provider

may disclose this Warrant and Order to an attorney for Provider for the purpose of receiving legal

advice.

          3. Sealing. It is further ordered that this Warrant and Order, and the Affidavit upon which

it was issued, be filed under seal, except that the Government may without further order of this

Court serve the Warrant and Order on the Provider; provide copies of the Affidavit or Warrant and

Order as need be to personnel assisting the Government in the investigation and prosecution of

this matter; and disclose these materials as necessary to comply with discovery and disclosure

obligations in any prosecutions related to this matter.

Dated: New York, New York
            01/06/2023                     5:08 p.m.
          ____________________          _________________
          Date Issued                   Time Issued


                                                   ______________________________________
                                                   UNITED STATES MAGISTRATE JUDGE
                                                   Southern District of New York




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                                    Twitter Search Attachment A

I. Subject Account and Execution of Warrant

           This warrant is directed to Twitter, Inc. (the “Provider”), headquartered at headquartered

  at 1355 Market Street, Suite 900, in San Francisco, California, and applies to all content and other

  information within the Provider’s possession, custody, or control associated with a Twitter account

  with the username @avi_eisen and account ID 2839135427, accessed at the URL

  https://twitter.com/avi_eisen (the “Subject Account”). A law enforcement officer will serve this

  warrant by transmitting it via email or another appropriate manner to the Provider. The Provider

  is directed to produce to the law enforcement officer an electronic copy of the information

  specified in Section II below. Upon receipt of the production, law enforcement personnel will

  review the information for items falling within the categories specified in Section III below.

II. Information to be Produced by the Provider

           To the extent that the information described in Attachment A is within the possession,

  custody, or control of Twitter, including any messages, records, files, logs, or information that

  have been deleted but are still available to Twitter, or have been preserved pursuant to a request

  made under 18 U.S.C. § 2703(f), Twitter is required to disclose the following information to the

  government for each account listed in Attachment A, for the period from July 1, 2022 to the

  present:

           a.     All identity and contact information, including full name, e-mail address, physical

  address (including city, state, and zip code), date of birth, gender, hometown, occupation, and other

  personal identifiers;

           b.     All past and current usernames, account passwords, and names associated with the

  account;

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         c.    The dates and times at which the account and profile were created, and the Internet

Protocol (“IP”) address at the time of sign-up;

         d.    All IP logs and other documents showing the IP address, date, and time of each

login to the account;

         e.    All data and information associated with the profile page, including photographs,

“bios,” and profile backgrounds and themes;

         f.    All “Tweets” and Direct Messages sent, received, “favorited,” or retweeted by the

account, and all photographs or images included in those Tweets and Direct Messages;

         g.    All photographs and images in the user gallery for the account;

         h.    All location data associated with the account, including all information collected

by the “Tweet With Location” service;

         i.    All information about the account’s use of Twitter’s link service, including all

longer website links that were shortened by the service, all resulting shortened links, and all

information about the number of times that a link posted by the account was clicked;

         j.    All data and information that has been deleted by the user;

         k.    A list of all of the people that the user follows on Twitter and all people who are

following the user (i.e., the user’s “following” list and “followers” list);

         l.    A list of all users that the account has “unfollowed” or blocked;

         m.    All “lists” created by the account;

         n.    All information on the “Who to Follow” list for the account;

         o.    All privacy and account settings;

         p.    All records of Twitter searches performed by the account, including all past

searches saved by the account;



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            q.      All information about connections between the account and third-party websites

   and applications;

            r.      All records pertaining to communications between Twitter and any person

   regarding the user or the user’s Twitter account, including contacts with support services, and all

   records of actions taken, including suspensions of the account.

III. Review of Information by the Government

            Law enforcement personnel (who may include, in addition to law enforcement officers and

   agents, attorneys for the Government, attorney support staff, agency personnel assisting the

   government in this investigation, and outside technical experts under Government control) are

   authorized to review the records produced by the Provider in order to locate any evidence, fruits,

   and instrumentalities of violations of 7 U.S.C. §§ 9(1), 13(a)(5) and 17 C.F.R. § 180.1

   (commodities fraud); 7 U.S.C. § 13(a)(2) (commodities and swap manipulation); 18 U.S.C. § 371

   (conspiracy to commit commodities fraud); 18 U.S.C. §§ 1343 and 1349 (wire fraud, securities

   fraud, and conspiracy to commit the same); 18 U.S.C. §§ 1956(a)(1)(A)(i), 1956(h), and 1957

   (concealment money laundering, illegal money transferring, and conspiracy to commit the same),

   all in connection with a scheme to commit market manipulation on a platform called Mango

   Markets, then launder the proceeds (the “Subject Offenses”), including the following:

                 a. Records relating to the creation and users of the Subject Accounts and the Subject

   Servers;

                 b. Evidence of the creation and use of cryptocurrency wallets and accounts on

   cryptocurrency exchanges used in preparing for, perpetrating, or receiving funds from the Subject

   Offenses;

                 c. Evidence, including documents, images, and communications, reflecting any

   preparation for the Subject Offenses, including but not limited evidence reflecting research about

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manipulating cryptocurrency prices; research about potential targets for market manipulation; tests

of purchasing and selling MNGO or MNGP Perpetuals; tests of transferring cryptocurrency to and

from Mango Markets and other cryptocurrency exchanges used in the Subject Offenses; the

planned steps in the Subject Offenses; the anticipated timing of the Subject Offenses; and planning

for laundering funds from the Subject Offenses;

             d. Evidence, including documents, images, and communications, reflecting acts in

furtherance of the Subject Offenses and the transfer of funds obtained from the Subject Offenses;

             e. Evidence, including documents, images, and communications, reflecting efforts to

avoid to destroy or conceal information about the Subject Offenses, including but not limited to

efforts to delete messages about the Subject Offenses and to prevent victims of the Subject

Offenses from reporting information about the scheme to law enforcement;

             f. Evidence, including documents, images, and communications, relating to

AVRAHAM EISENBERG’s relocation from the United States to Israel shortly after committing

the Subject Offenses;

             g. Evidence, including documents, images, and communications, reflecting

AVRAHAM EISENBERG’s knowledge of the laws prohibiting wire fraud, securities fraud,

commodities fraud, and market manipulations, including but not limited to evidence of

EISENBERG’s participation in lawsuits involving laws related to those subjects and

EISENBERG’s research or communication about lawsuits and criminal cases related to those

subjects;

             h. Evidence reflecting the identities of, and communications among, any co-

conspirators in the Subject Offenses;




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             i. Evidence, including documents and communications, reflecting the state of mind

of AVRAHAM EISENBERG and other participants in the Subject Offenses, including

communications reflecting false (purportedly exculpatory) explanations of any participant’s

involvement in the Subject Offenses;

             j. Information that would assist in identifying and locating victims or witnesses;

             k. Documents, spreadsheets, communications, and ledgers tracking cryptocurrency

transfers and/or cryptocurrency payments;

             l. Passwords or other information needed to access or identify computer or other

online accounts, storage media, or other places where additional evidence, fruits, or

instrumentalities of the Subject Offenses may be located;

             m. Information pertaining to cryptocurrency digital wallets that may contain proceeds

of the Subject Offenses;

             n. Information relating to the ownership and disposition of criminal proceeds,

including bank accounts, cryptocurrency wallets, accounts with centralized cryptocurrency

exchanges, and other financial accounts;

             o. Evidence relating to the use of financial accounts and transactions in furtherance of

the Subject Offenses (including the means and methods used to obtain the accounts and funds

therein, and how the transactions were undertaken);

             p. Evidence concerning the technical expertise of AVRAHAM EISENBERG and any

other participants in the Subject Offenses;

             q. Location data, including but not limited to geolocation reporting and location

history data and metadata associated with other files that would place AVRAHAM EISENBERG

and any co-conspirators and aiders and abettors in the Subject Offenses, as well as the devices they



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used, in specific places at specific times, and would indicate the use of their devices during those

times;

             r. Information regarding the registration of other email accounts, computer servers,

or other computer network infrastructure, including servers and Internet domains, or online

communications facilities, payment for such online facilities or services, transfers of funds in

furtherance of the Subject Offenses, and proceeds of the Subject Offenses; and

             s. Evidence concerning any other online accounts, any computer devices or servers,

or any other location where evidence falling within the foregoing categories could be stored,

including any passwords or encryption keys needed to access such evidence.




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

  In the Matter of a Warrant for All
  Content and Other Information
                                                  23 MAG 122
  Associated with a Facebook Account
  with Username “Avraham Eisenberg,”
  Maintained at Premises Controlled by
  Meta Platforms, Inc., USAO Reference
  No. 2022R00646


              SEARCH WARRANT AND NON-DISCLOSURE ORDER
TO:    Meta Platforms, Inc. (“Provider”)

       Federal Bureau of Investigation (“Investigative Agency”)

       1. Warrant. Upon an affidavit of Special Agent Brandon Racz of the Investigative

Agency, and pursuant to the provisions of the Stored Communications Act, 18 U.S.C.

§ 2703(b)(1)(A) and § 2703(c)(1)(A), and the relevant provisions of Federal Rule of Criminal

Procedure 41, the Court hereby finds there is probable cause to believe that a Facebook account

associated with the username “Avraham Eisenberg” (the “Subject Account”), accessed at

https://www.facebook.com/people/Avraham-Eisenberg/100009952574823/ and maintained and

controlled by Meta Platforms, Inc. (the “Provider”), headquartered at 1601 Willow Road, Menlo

Park, California 94025, contains evidence, fruits, and instrumentalities of crime, all as specified in

Attachment A hereto. Accordingly, the Provider is hereby directed to provide to the Investigative

Agency, within 30 days of the date of service of this Warrant and Order, the records specified in

Section II of Attachment A hereto, for subsequent review by law enforcement personnel as

authorized in Section III of Attachment A. The Government is required to serve a copy of this

Warrant and Order on the Provider within 14 days of the date of issuance. The Warrant and Order




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may be served via electronic transmission or any other means through which the Provider is

capable of accepting service.

          2. Non-Disclosure Order. Pursuant to 18 U.S.C. § 2705(b), the Court finds that there is

reason to believe that notification of the existence of this warrant will result in destruction of or

tampering with evidence, or otherwise will seriously jeopardize an ongoing investigation.

Accordingly, it is hereby ordered that the Provider shall not disclose the existence of this Warrant

and Order to the listed subscriber or to any other person for a period of one year from the date of

this Order, subject to extension upon application to the Court if necessary, except that Provider

may disclose this Warrant and Order to an attorney for Provider for the purpose of receiving legal

advice.

          3. Sealing. It is further ordered that this Warrant and Order, and the Affidavit upon which

it was issued, be filed under seal, except that the Government may without further order of this

Court serve the Warrant and Order on the Provider; provide copies of the Affidavit or Warrant and

Order as need be to personnel assisting the Government in the investigation and prosecution of

this matter; and disclose these materials as necessary to comply with discovery and disclosure

obligations in any prosecutions related to this matter.

Dated: New York, New York
             01/06/2023                    5:09 p.m.
          ____________________          _________________
          Date Issued                   Time Issued


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                                                   UNITED STATES MAGISTRATE JUDGE
                                                   Southern District of New York




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                                     Facebook Search Attachment A

I. Subject Account and Execution of Warrant

           This warrant is directed to Meta Platforms, Inc. (the “Provider”), headquartered at

  headquartered at 1601 Willow Road, Menlo Park, California 94025, and applies to all content and

  other information within the Provider’s possession, custody, or control associated with a Facebook

  account        associated   with    the   username      “Avraham     Eisenberg”,      accessed    at

  https://www.facebook.com/people/Avraham-Eisenberg/100009952574823/                 (the    “Subject

  Account”). A law enforcement officer will serve this warrant by transmitting it via email or

  another appropriate manner to the Provider. The Provider is directed to produce to the law

  enforcement officer an electronic copy of the information specified in Section II below. Upon

  receipt of the production, law enforcement personnel will review the information for items falling

  within the categories specified in Section III below.

II. Information to be Produced by the Provider

           To the extent that the information described in Attachment A is within the possession,

  custody, or control of the Provider, including any messages, records, files, logs, or information

  that have been deleted but are still available to the Provider, or have been preserved pursuant to a

  request made under 18 U.S.C. § 2703(f), the Provider is required to disclose the following

  information to the government for each account listed in Attachment A, for the period from July

  1, 2022 to the present:

                 a. All contact and personal identifying information, including full name, user

  identification number, birth date, gender, contact e-mail addresses, physical address (including

  city, state, and zip code), telephone numbers, screen names, websites, and other personal

  identifiers.



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             b. All activity logs for the account and all other documents showing the user’s posts

and other Facebook activities;

             c. All photos and videos uploaded by that user ID and all photos and videos uploaded

by any user that have that user tagged in them, including Exchangeable Image File (“EXIF”) data

and any other metadata associated with those photos and videos;

             d. All profile information; News Feed information; status updates; videos,

photographs, articles, and other items; Notes; Wall postings; friend lists, including the friends’

Facebook user identification numbers; groups and networks of which the user is a member,

including the groups’ Facebook group identification numbers; future and past event postings;

rejected “Friend” requests; comments; gifts; pokes; tags; and information about the user’s access

and use of Facebook applications;

             e. All records or other information regarding the devices and internet browsers

associated with, or used in connection with, that user ID, including the hardware model, operating

system version, unique device identifiers, mobile network information, and user agent string;

             f. All other records and contents of communications and messages made or received

by the user, including all Messenger activity, private messages, chat history, video and voice

calling history, and pending “Friend” requests;

             g. All “check ins” and other location information;

             h. All IP logs, including all records of the IP addresses that logged into the account;

             i. All records of the account’s usage of the “Like” feature, including all Facebook

posts and all non-Facebook webpages and content that the user has “liked”;

             j. All information about the Facebook pages that the account is or was a “fan” of;

             k. All past and present lists of friends created by the account;



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                l. All records of Facebook searches performed by the account;

                m. All information about the user’s access and use of Facebook Marketplace;

                n. The types of service utilized by the user;

                o. The length of service (including start date) and the means and source of any

   payments associated with the service (including any credit card or bank account number);

                p. All privacy settings and other account settings, including privacy settings for

   individual Facebook posts and activities, and all records showing which Facebook users have been

   blocked by the account;

                q. All records pertaining to communications between Facebook and any person

   regarding the user or the user’s Facebook account, including contacts with support services and

   records of actions taken.

III.Review of Information by the Government

            Law enforcement personnel (who may include, in addition to law enforcement officers and

   agents, attorneys for the Government, attorney support staff, agency personnel assisting the

   government in this investigation, and outside technical experts under Government control) are

   authorized to review the records produced by the Provider in order to locate any evidence, fruits,

   and instrumentalities of violations of 7 U.S.C. §§ 9(1), 13(a)(5) and 17 C.F.R. § 180.1

   (commodities fraud); 7 U.S.C. § 13(a)(2) (commodities and swap manipulation); 18 U.S.C. § 371

   (conspiracy to commit commodities fraud); 18 U.S.C. §§ 1343 and 1349 (wire fraud, securities

   fraud, and conspiracy to commit the same); 18 U.S.C. §§ 1956(a)(1)(A)(i), 1956(h), and 1957

   (concealment money laundering, illegal money transferring, and conspiracy to commit the same),

   all in connection with a scheme to commit market manipulation on a platform called Mango

   Markets, then launder the proceeds (the “Subject Offenses”), including the following:



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             a. Records relating to the creation and users of the Subject Accounts and the Subject

Servers;

             b. Evidence of the creation and use of cryptocurrency wallets and accounts on

cryptocurrency exchanges used in preparing for, perpetrating, or receiving funds from the Subject

Offenses;

             c. Evidence, including documents, images, and communications, reflecting any

preparation for the Subject Offenses, including but not limited evidence reflecting research about

manipulating cryptocurrency prices; research about potential targets for market manipulation; tests

of purchasing and selling MNGO or MNGP Perpetuals; tests of transferring cryptocurrency to and

from Mango Markets and other cryptocurrency exchanges used in the Subject Offenses; the

planned steps in the Subject Offenses; the anticipated timing of the Subject Offenses; and planning

for laundering funds from the Subject Offenses;

             d. Evidence, including documents, images, and communications, reflecting acts in

furtherance of the Subject Offenses and the transfer of funds obtained from the Subject Offenses;

             e. Evidence, including documents, images, and communications, reflecting efforts to

avoid to destroy or conceal information about the Subject Offenses, including but not limited to

efforts to delete messages about the Subject Offenses and to prevent victims of the Subject

Offenses from reporting information about the scheme to law enforcement;

             f. Evidence, including documents, images, and communications, relating to

AVRAHAM EISENBERG’s relocation from the United States to Israel shortly after committing

the Subject Offenses;

             g. Evidence, including documents, images, and communications, reflecting

AVRAHAM EISENBERG’s knowledge of the laws prohibiting wire fraud, securities fraud,



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commodities fraud, and market manipulations, including but not limited to evidence of

EISENBERG’s participation in lawsuits involving laws related to those subjects and

EISENBERG’s research or communication about lawsuits and criminal cases related to those

subjects;

             h. Evidence reflecting the identities of, and communications among, any co-

conspirators in the Subject Offenses;

             i. Evidence, including documents and communications, reflecting the state of mind

of AVRAHAM EISENBERG and other participants in the Subject Offenses, including

communications reflecting false (purportedly exculpatory) explanations of any participant’s

involvement in the Subject Offenses;

             j. Information that would assist in identifying and locating victims or witnesses;

             k. Documents, spreadsheets, communications, and ledgers tracking cryptocurrency

transfers and/or cryptocurrency payments;

             l. Passwords or other information needed to access or identify computer or other

online accounts, storage media, or other places where additional evidence, fruits, or

instrumentalities of the Subject Offenses may be located;

             m. Information pertaining to cryptocurrency digital wallets that may contain proceeds

of the Subject Offenses;

             n. Information relating to the ownership and disposition of criminal proceeds,

including bank accounts, cryptocurrency wallets, accounts with centralized cryptocurrency

exchanges, and other financial accounts;




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             o. Evidence relating to the use of financial accounts and transactions in furtherance of

the Subject Offenses (including the means and methods used to obtain the accounts and funds

therein, and how the transactions were undertaken);

             p. Evidence concerning the technical expertise of AVRAHAM EISENBERG and any

other participants in the Subject Offenses;

             q. Location data, including but not limited to geolocation reporting and location

history data and metadata associated with other files that would place AVRAHAM EISENBERG

and any co-conspirators and aiders and abettors in the Subject Offenses, as well as the devices they

used, in specific places at specific times, and would indicate the use of their devices during those

times;

             r. Information regarding the registration of other email accounts, computer servers,

or other computer network infrastructure, including servers and Internet domains, or online

communications facilities, payment for such online facilities or services, transfers of funds in

furtherance of the Subject Offenses, and proceeds of the Subject Offenses; and

             s. Evidence concerning any other online accounts, any computer devices or servers,

or any other location where evidence falling within the foregoing categories could be stored,

including any passwords or encryption keys needed to access such evidence.




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

  In the Matter of a Warrant for All
  Content and Other Information
                                                   23 MAG 122
  Associated with Multiple User
  Accounts and a Server, Maintained at
  Premises Controlled by Discord, Inc.,
  USAO Reference No. 2022R00646


             SEARCH WARRANT AND NON-DISCLOSURE ORDER
TO:    Discord, Inc. (“Provider”)

       Federal Bureau of Investigation (“Investigative Agency”)

       1. Warrant. Upon an affidavit of Special Agent Brandon Racz of the Investigative

Agency, and pursuant to the provisions of the Stored Communications Act, 18 U.S.C.

§ 2703(b)(1)(A) and § 2703(c)(1)(A), and the relevant provisions of Federal Rule of Criminal

Procedure 41, the Court hereby finds there is probable cause to believe that the following Discord

accounts (the “Subject Accounts”):

                  User ID                        Username(s)

                  470697531823620116             AvrahamEisenberg#5451

                  281233046227779585             CrunchWrapSupreme#1469


And the following Discord server (the “Subject Server”):

                  Server ID                      Server Link

                  782504674103656489             discord.gg/9RjPjCdGwK


All of which are maintained at premises controlled by Discord, Inc., headquartered at 444 De Haro

Street, Suite 200, San Francisco, CA 94107, contain evidence, fruits, and instrumentalities of

crime, all as specified in Attachment A hereto. Accordingly, the Provider is hereby directed to




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provide to the Investigative Agency, within 30 days of the date of service of this Warrant and

Order, the records specified in Section II of Attachment A hereto, for subsequent review by law

enforcement personnel as authorized in Section III of Attachment A. The Government is required

to serve a copy of this Warrant and Order on the Provider within 14 days of the date of issuance.

The Warrant and Order may be served via electronic transmission or any other means through

which the Provider is capable of accepting service.

         2. Non-Disclosure Order. Pursuant to 18 U.S.C. § 2705(b), the Court finds that there is

reason to believe that notification of the existence of this warrant will result in destruction of or

tampering with evidence, flight from prosecution, or otherwise will seriously jeopardize an

ongoing investigation. Accordingly, it is hereby ordered that the Provider shall not disclose the

existence of this Warrant and Order to the listed subscriber or to any other person for a period of

one year from the date of this Order, subject to extension upon application to the Court if necessary,

except that Provider may disclose this Warrant and Order to an attorney for Provider for the

purpose of receiving legal advice.

         3. Sealing. It is further ordered that this Warrant and Order, and the Affidavit upon which

it was issued, be filed under seal, except that the Government may without further order of this

Court serve the Warrant and Order on the Provider; provide copies of the Affidavit or Warrant and

Order as need be to personnel assisting the Government in the investigation and prosecution of




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this matter; and disclose these materials as necessary to comply with discovery and disclosure

obligations in any prosecutions related to this matter.

Dated: New York, New York

                                       5:10 p.m.
         ___________________
           01/06/2023                 _________________
         Date Issued                  Time Issued


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                                                  UNITED STATES MAGISTRATE JUDGE
                                                  Southern District of New York




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                                    Email Search Attachment A

I. Subject Accounts, Subject Server, and Execution of Warrant

         This warrant is directed to Discord, Inc. (the “Provider”), headquartered at 444 De Haro

  Street, Suite 200, San Francisco, CA 94107, and applies to all content and other information within

  the Provider’s possession, custody, or control associated with the following Discord accounts

  (collectively, the “Subject Accounts”):

                    User ID                          Username(s)

                    470697531823620116               AvrahamEisenberg#5451

                    281233046227779585               CrunchWrapSupreme#1469


  And the following server (the “Subject Server”):

                    Server ID                        Server Link

                    782504674103656489               discord.gg/9RjPjCdGwK


         A law enforcement officer will serve this warrant by transmitting it via email or another

  appropriate manner to the Provider. The Provider is directed to produce to the law enforcement

  officer an electronic copy of the information specified in Section II below. Upon receipt of the

  production, law enforcement personnel will review the information for items falling within the

  categories specified in Section III below.

II. Information to be Produced by the Provider

         To the extent within the Provider’s possession, custody, or control, the Provider is directed

  to produce the following information associated with the Subject Accounts and the Subject Server,

  for the period from July 1, 2022 to the present:

         a. Messaging content. All public and private messages sent to or from, stored in draft

  form in, or otherwise associated with the Subject Accounts and Subject Server, including all text,




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   attachments, and header information (specifically including the source and destination addresses

   associated with each communication, the date and time at which each communication was sent,

   and the size and length of each communication).

            b. Address book information. All address book, contact list, or similar information

   associated with the Subject Accounts and Subject Servers.

            c. Subscriber and payment information. All subscriber and payment information

   regarding the Subject Accounts and Subject Servers, including but not limited to name, username,

   address, telephone number, alternate email addresses, registration IP address, account creation

   date, account status, length of service, types of services utilized, means and source of payment,

   and payment history.

            d. Transactional records. All transactional records associated with the Subject Accounts

   and Subject Servers, including any IP logs or other records of session times and durations.

            e. Deletion records. All records reflecting deleted messages, including information about

   the account that deleted those messages and IP address from which the messages were deleted.

            f. Customer correspondence. All correspondence with the subscriber or others associated

   with the Subject Accounts and Subject Servers, including complaints, inquiries, or other contacts

   with support services and records of actions taken.

            g. Preserved or backup records. Any preserved or backup copies of any of the foregoing

   categories of records, whether created in response to a preservation request issued pursuant to 18

   U.S.C. § 2703(f) or otherwise.

III. Review of Information by the Government

            Law enforcement personnel (who may include, in addition to law enforcement officers and

   agents, attorneys for the Government, attorney support staff, agency personnel assisting the

   government in this investigation, and outside technical experts under Government control) are

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authorized to review the records produced by the Provider in order to locate any evidence, fruits,

and instrumentalities of violations of 7 U.S.C. §§ 9(1), 13(a)(5) and 17 C.F.R. § 180.1

(commodities fraud); 7 U.S.C. § 13(a)(2) (commodities and swap manipulation); 18 U.S.C. § 371

(conspiracy to commit commodities fraud); 18 U.S.C. §§ 1343 and 1349 (wire fraud, securities

fraud, and conspiracy to commit the same); 18 U.S.C. §§ 1956(a)(1)(A)(i), 1956(h), and 1957

(concealment money laundering, illegal money transferring, and conspiracy to commit the same),

all in connection with a scheme to commit market manipulation on a platform called Mango

Markets, then launder the proceeds (the “Subject Offenses”), including the following:

             a. Records relating to the creation and users of the Subject Accounts and the Subject

Servers;

             b. Evidence of the creation and use of cryptocurrency wallets and accounts on

cryptocurrency exchanges used in preparing for, perpetrating, or receiving funds from the Subject

Offenses;

             c. Evidence, including documents, images, and communications, reflecting any

preparation for the Subject Offenses, including but not limited evidence reflecting research about

manipulating cryptocurrency prices; research about potential targets for market manipulation; tests

of purchasing and selling MNGO or MNGP Perpetuals; tests of transferring cryptocurrency to and

from Mango Markets and other cryptocurrency exchanges used in the Subject Offenses; the

planned steps in the Subject Offenses; the anticipated timing of the Subject Offenses; and planning

for laundering funds from the Subject Offenses;

             d. Evidence, including documents, images, and communications, reflecting acts in

furtherance of the Subject Offenses and the transfer of funds obtained from the Subject Offenses;




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             e. Evidence, including documents, images, and communications, reflecting efforts to

avoid to destroy or conceal information about the Subject Offenses, including but not limited to

efforts to delete messages about the Subject Offenses and to prevent victims of the Subject

Offenses from reporting information about the scheme to law enforcement;

             f. Evidence, including documents, images, and communications, relating to

AVRAHAM EISENBERG’s relocation from the United States to Israel shortly after committing

the Subject Offenses;

             g. Evidence, including documents, images, and communications, reflecting

AVRAHAM EISENBERG’s knowledge of the laws prohibiting wire fraud, securities fraud,

commodities fraud, and market manipulations, including but not limited to evidence of

EISENBERG’s participation in lawsuits involving laws related to those subjects and

EISENBERG’s research or communication about lawsuits and criminal cases related to those

subjects;

             h. Evidence reflecting the identities of, and communications among, any co-

conspirators in the Subject Offenses;

             i. Evidence, including documents and communications, reflecting the state of mind

of AVRAHAM EISENBERG and other participants in the Subject Offenses, including

communications reflecting false (purportedly exculpatory) explanations of any participant’s

involvement in the Subject Offenses;

             j. Information that would assist in identifying and locating victims or witnesses;

             k. Documents, spreadsheets, communications, and ledgers tracking cryptocurrency

transfers and/or cryptocurrency payments;




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             l. Passwords or other information needed to access or identify computer or other

online accounts, storage media, or other places where additional evidence, fruits, or

instrumentalities of the Subject Offenses may be located;

             m. Information pertaining to cryptocurrency digital wallets that may contain proceeds

of the Subject Offenses;

             n. Information relating to the ownership and disposition of criminal proceeds,

including bank accounts, cryptocurrency wallets, accounts with centralized cryptocurrency

exchanges, and other financial accounts;

             o. Evidence relating to the use of financial accounts and transactions in furtherance of

the Subject Offenses (including the means and methods used to obtain the accounts and funds

therein, and how the transactions were undertaken);

             p. Evidence concerning the technical expertise of AVRAHAM EISENBERG and any

other participants in the Subject Offenses;

             q. Location data, including but not limited to geolocation reporting and location

history data and metadata associated with other files that would place AVRAHAM EISENBERG

and any co-conspirators and aiders and abettors in the Subject Offenses, as well as the devices they

used, in specific places at specific times, and would indicate the use of their devices during those

times;

             r. Information regarding the registration of other email accounts, computer servers,

or other computer network infrastructure, including servers and Internet domains, or online

communications facilities, payment for such online facilities or services, transfers of funds in

furtherance of the Subject Offenses, and proceeds of the Subject Offenses; and




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             s. Evidence concerning any other online accounts, any computer devices or servers,

or any other location where evidence falling within the foregoing categories could be stored,

including any passwords or encryption keys needed to access such evidence.




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

  In the Matter of a Warrant for All
  Content and Other Information
  Associated with Three Google
                                                 23 MAG 122
  Accounts, Maintained at Premises
  Controlled by Google LLC, USAO
  Reference No. 2022R00646


             SEARCH WARRANT AND NON-DISCLOSURE ORDER
TO:    Google LLC (“Provider”)

       Federal Bureau of Investigation (“Investigative Agency”)

       1. Warrant. Upon an affidavit of Special Agent Brandon Racz of the Investigative

Agency, and pursuant to the provisions of the Stored Communications Act, 18 U.S.C.

§ 2703(b)(1)(A) and § 2703(c)(1)(A), and the relevant provisions of Federal Rule of Criminal

Procedure 41, the Court hereby finds there is probable cause to believe that Google accounts

associated   with    the    following    email    addresses:    (1)   bochen.clean@gmail.com;

(2) avi@thimessolutions.com; and (3) 613ike@gmail.com (collectively, the “Subject Accounts”),

maintained and controlled by Google LLC, headquartered at 1600 Amphitheatre Parkway,

Mountain View, CA, contain evidence, fruits, and instrumentalities of crime, all as specified in

Attachment A hereto. Accordingly, the Provider is hereby directed to provide to the Investigative

Agency, within 30 days of the date of service of this Warrant and Order, the records specified in

Section II of Attachment A hereto, for subsequent review by law enforcement personnel as

authorized in Section III of Attachment A. The Government is required to serve a copy of this

Warrant and Order on the Provider within 14 days of the date of issuance. The Warrant and Order

may be served via electronic transmission or any other means through which the Provider is

capable of accepting service.




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          2. Non-Disclosure Order. Pursuant to 18 U.S.C. § 2705(b), the Court finds that there is

reason to believe that notification of the existence of this warrant will result in destruction of or

tampering with evidence, or otherwise will seriously jeopardize an ongoing investigation.

Accordingly, it is hereby ordered that the Provider shall not disclose the existence of this Warrant

and Order to the listed subscriber or to any other person for a period of one year from the date of

this Order, subject to extension upon application to the Court if necessary, except that Provider

may disclose this Warrant and Order to an attorney for Provider for the purpose of receiving legal

advice.

          3. Sealing. It is further ordered that this Warrant and Order, and the Affidavit upon which

it was issued, be filed under seal, except that the Government may without further order of this

Court serve the Warrant and Order on the Provider; provide copies of the Affidavit or Warrant and

Order as need be to personnel assisting the Government in the investigation and prosecution of

this matter; and disclose these materials as necessary to comply with discovery and disclosure

obligations in any prosecutions related to this matter.

Dated: New York, New York
             01/06/2023                   5:10 p.m.
          ____________________          _________________
          Date Issued                   Time Issued


                                                   ______________________________________
                                                   UNITED STATES MAGISTRATE JUDGE
                                                   Southern District of New York




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                                    Google Search Attachment A

I. Subject Account and Execution of Warrant

           This warrant is directed to Google LLC (the “Provider”), headquartered at 1600

  Amphitheatre Parkway, Mountain View, CA, and applies to all content and other information

  within the Provider’s possession, custody, or control associated with the Google accounts

  associated    with    the    following       email       addresses:   (1)   bochen.clean@gmail.com;

  (2) avi@thimessolutions.com; and (3) 613ike@gmail.com (collectively, the “Subject Accounts”).

  A law enforcement officer will serve this warrant by transmitting it via email or another

  appropriate manner to the Provider. The Provider is directed to produce to the law enforcement

  officer an electronic copy of the information specified in Section II below. Upon receipt of the

  production, law enforcement personnel will review the information for items falling within the

  categories specified in Section III below.

II. Information to be Produced by the Provider

           To the extent that the information described in Attachment A is within the possession,

  custody, or control of the Provider, including any messages, records, files, logs, or information

  that have been deleted but are still available to the Provider, or have been preserved pursuant to a

  request made under 18 U.S.C. § 2703(f), the Provider is required to disclose the following

  information to the government for each account listed in Attachment A, for the period from July

  1, 2022 to the present:

           a.     Email content. All emails sent to or from, stored in draft form in, or otherwise

  associated with, the Subject Accounts, including all message content (including all message

  content or attachments for emails sent in Google’s “confidential” mode), deleted content,

  attachments, and header information (specifically including the source and destination addresses

  associated with each email, the date and time at which each email was sent, the size and length of

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each email, and the IP addresses of the sender and recipient of the email), as well as all forwarding

and fetching accounts related to the Subject Account.

         b.    Google Services Data. The files and contents associated with the Subject Accounts

related to the following Google Services: Gmail; Google Contacts; Google Messaging (including

Google Hangouts); Google Drive; Google Docs; Google Reader; Google Voice; Google Photos;

Google Chrome Sync; Google Calendar; Location History; Google Payments; and Google Maps.

         c.    Subscriber and payment information. All subscriber and payment information

regarding the Subject Accounts, including but not limited to name, username, address, telephone

number, recovery and alternate email addresses, sign-in phone numbers, registration IP address,

account creation date, account status, length of service, types of services utilized, means and source

of payment, and payment history.

         d.    Chrome Browser and web and search history records. All records relating to

Internet search and browsing history, and application usage history, including My Activity, Web

& App Activity, device information history, and location history, including Chrome Browser

records.

         e.    Device Information.     Any information identifying the device or devices used to

access the Subject Accounts, including a device serial number, a GUID or Global Unique

Identifier, a phone number, serial numbers, MAC addresses, Electronic Serial Numbers (“ESN”),

Mobile Electronic Identity Numbers (“MEIN”), Mobile Equipment Identifiers (“MEID”), Mobile

Identification Numbers (“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber

Integrated Services Digital Network Number (“MSISDN”), International Mobile Subscriber

Identifiers (“IMSI”), or International Mobile Equipment Identities (“IMEI”), and any other

information regarding the types of devices used to access the Subject Account.



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         f.    Information Regarding Linked Accounts, Including Accounts Linked by Cookie.

Any information identifying accounts that are associated with or connected to the Subject Account,

including but not limited to specifically by cookies; recovery, secondary, forwarding, or alternate

email address; Google ID; Android ID; IMEI; creation IP address; telephone number, including

SMS recovery number or sign-in account number; or any other account or device identifier.

         g.    Transactional records.    All transactional records associated with the Subject

Accounts, including any IP logs or other records of session times and durations, along with device

information (including user agent strings) used to access the Subject Accounts.

         h.    Customer correspondence.      All correspondence with the subscriber or others

associated with the Subject Accounts, including complaints, inquiries, or other contacts with

support services and records of actions taken.

         i.    Preserved or backup records. Any preserved or backup copies of any of the

foregoing categories of records, whether created in response to a preservation request issued by

the Government pursuant to 18 U.S.C. § 2703(f), or otherwise.

         j.    Messages.    The contents of all instant messages associated with the Subject

Account, including stored or preserved copies of instant messages (including iMessages, SMS

messages, and MMS messages) sent to and from the account (including all draft and deleted

messages), the source and destination account or phone number associated with each instant

message, the date and time at which each instant message was sent, the size and length of each

instant message, the actual IP addresses of the sender and the recipient of each instant message,

and the media, if any, attached to each instant message.

         k.    Files and Records. The contents of all files and other records stored on the Subject

Accounts, including all device backups, all google and third-party app data, all files and other



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   records related to Google Mail, Google Photos, Chrome Tabs and Bookmarks, Google Drive,

   Google Voice, and all address books, contact and buddy lists, notes, reminders, calendar entries,

   images, videos, voicemails, device settings, and bookmarks

III.Review of Information by the Government

            Law enforcement personnel (who may include, in addition to law enforcement officers and

   agents, attorneys for the Government, attorney support staff, agency personnel assisting the

   government in this investigation, and outside technical experts under Government control) are

   authorized to review the records produced by the Provider in order to locate any evidence, fruits,

   and instrumentalities of violations of 7 U.S.C. §§ 9(1), 13(a)(5) and 17 C.F.R. § 180.1

   (commodities fraud); 7 U.S.C. § 13(a)(2) (commodities and swap manipulation); 18 U.S.C. § 371

   (conspiracy to commit commodities fraud); 18 U.S.C. §§ 1343 and 1349 (wire fraud, securities

   fraud, and conspiracy to commit the same); 18 U.S.C. §§ 1956(a)(1)(A)(i), 1956(h), and 1957

   (concealment money laundering, illegal money transferring, and conspiracy to commit the same),

   all in connection with a scheme to commit market manipulation on a platform called Mango

   Markets, then launder the proceeds (the “Subject Offenses”), including the following:

                a. Records relating to the creation and users of the Subject Accounts and the Subject

   Servers;

                b. Evidence of the creation and use of cryptocurrency wallets and accounts on

   cryptocurrency exchanges used in preparing for, perpetrating, or receiving funds from the Subject

   Offenses;

                c. Evidence, including documents, images, and communications, reflecting any

   preparation for the Subject Offenses, including but not limited evidence reflecting research about

   manipulating cryptocurrency prices; research about potential targets for market manipulation; tests

   of purchasing and selling MNGO or MNGP Perpetuals; tests of transferring cryptocurrency to and

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from Mango Markets and other cryptocurrency exchanges used in the Subject Offenses; the

planned steps in the Subject Offenses; the anticipated timing of the Subject Offenses; and planning

for laundering funds from the Subject Offenses;

             d. Evidence, including documents, images, and communications, reflecting acts in

furtherance of the Subject Offenses and the transfer of funds obtained from the Subject Offenses;

             e. Evidence, including documents, images, and communications, reflecting efforts to

avoid to destroy or conceal information about the Subject Offenses, including but not limited to

efforts to delete messages about the Subject Offenses and to prevent victims of the Subject

Offenses from reporting information about the scheme to law enforcement;

             f. Evidence, including documents, images, and communications, relating to

AVRAHAM EISENBERG’s relocation from the United States to Israel shortly after committing

the Subject Offenses;

             g.   Evidence, including documents, images, and communications, reflecting

AVRAHAM EISENBERG’s knowledge of the laws prohibiting wire fraud, securities fraud,

commodities fraud, and market manipulations, including but not limited to evidence of

EISENBERG’s participation in lawsuits involving laws related to those subjects and

EISENBERG’s research or communication about lawsuits and criminal cases related to those

subjects;

             h. Evidence reflecting the identities of, and communications among, any co-

conspirators in the Subject Offenses;

             i. Evidence, including documents and communications, reflecting the state of mind

of AVRAHAM EISENBERG and other participants in the Subject Offenses, including




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communications reflecting false (purportedly exculpatory) explanations of any participant’s

involvement in the Subject Offenses;

             j. Information that would assist in identifying and locating victims or witnesses;

             k. Documents, spreadsheets, communications, and ledgers tracking cryptocurrency

transfers and/or cryptocurrency payments;

             l. Passwords or other information needed to access or identify computer or other

online accounts, storage media, or other places where additional evidence, fruits, or

instrumentalities of the Subject Offenses may be located;

             m. Information pertaining to cryptocurrency digital wallets that may contain proceeds

of the Subject Offenses;

             n. Information relating to the ownership and disposition of criminal proceeds,

including bank accounts, cryptocurrency wallets, accounts with centralized cryptocurrency

exchanges, and other financial accounts;

             o. Evidence relating to the use of financial accounts and transactions in furtherance of

the Subject Offenses (including the means and methods used to obtain the accounts and funds

therein, and how the transactions were undertaken);

             p. Evidence concerning the technical expertise of AVRAHAM EISENBERG and any

other participants in the Subject Offenses;

             q. Location data, including but not limited to geolocation reporting and location

history data and metadata associated with other files that would place AVRAHAM EISENBERG

and any co-conspirators and aiders and abettors in the Subject Offenses, as well as the devices they

used, in specific places at specific times, and would indicate the use of their devices during those

times;



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             r. Information regarding the registration of other email accounts, computer servers,

or other computer network infrastructure, including servers and Internet domains, or online

communications facilities, payment for such online facilities or services, transfers of funds in

furtherance of the Subject Offenses, and proceeds of the Subject Offenses; and

             s. Evidence concerning any other online accounts, any computer devices or servers,

or any other location where evidence falling within the foregoing categories could be stored,

including any passwords or encryption keys needed to access such evidence.




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                   EXHIBIT 1
Approved:                   22 MAG 10337
            _____________________________
            THOMAS S. BURNETT/NOAH SOLOWIEJCZYK
            Assistant United States Attorneys

Before:     HONORABLE GABRIEL W. GORENSTEIN
            United States Magistrate Judge
            Southern District of New York

- - - - - - - - - - - - - - - - - -       X
                                              SEALED COMPLAINT
UNITED STATES OF AMERICA                  :
                                          :
          - v. -                          :   Violation of 7 U.S.C.
                                              §§ 9(1), 13(a)(2),
                                          :
                                              13(a)(5); 17 C.F.R.
AVRAHAM EISENBERG,                        :
                                          :   § 180.1; 18 U.S.C. § 2
                                          :
                      Defendant.              COUNTY OF OFFENSE:
                                          :   New York
- - - - - - - - - - - - - - - - - -       X


SOUTHERN DISTRICT OF NEW YORK, ss.:

          BRANDON RACZ, being duly sworn, deposes and says that he
is a Special Agent with the Federal Bureau of Investigation (“FBI”)
and charges as follows:

                              COUNT ONE
                         (Commodities Fraud)

          1.   In or about October 2022, in the Southern District
of New York and elsewhere, AVRAHAM EISENBERG, the defendant,
willfully and knowingly, directly and indirectly, used and
employed, and attempted to use and employ, in connection with a
swap, a contract of sale of a commodity in interstate and foreign
commerce, and for future delivery on and subject to the rules of
a registered entity, a manipulative and deceptive device and
contrivance, in contravention of Title 17, Code of Federal
Regulations, Section 180.1, by: (1) using and employing, and
attempting to use and employ, a manipulative device, scheme, and
artifice to defraud; (2) making, and attempting to make, untrue
and misleading statements of material fact and omitting to state
material facts necessary in order to make the statements made not
untrue or misleading; and (3) engaging, and attempting to engage
in acts, practices, and courses of business which operated and




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would operate as a fraud and deceit upon other persons, to wit,
EISENBERG engaged in a scheme involving the intentional and
artificial manipulation of the price of perpetual futures
contracts on a cryptocurrency exchange called Mango Markets, and
other manipulative and deceptive devices and contrivances.

 (Title 7, United States Code, Sections 9(1) and 13(a)(5); Title
17, Code of Federal Regulations, Section 180.1; Title 18, United
                     States Code, Section 2.)

                              COUNT TWO
                     (Commodities Manipulation)

          2.   In or about October 2022, in the Southern District
of New York and elsewhere, AVRAHAM EISENBERG, the defendant, did
knowingly and intentionally manipulate and attempt to manipulate
the price of a commodity in interstate commerce, and for future
delivery on and subject to the rules of a registered entity, and
of a swap, to wit, EISENBERG engaged in a scheme involving the
intentional and artificial manipulation of the price of perpetual
futures contracts on a cryptocurrency exchange called Mango
Markets.

(Title 7, United States Code, Section 13(a)(2); Title 18, United
                    States Code, Section 2.)

     The bases for my knowledge and for the foregoing charge are,
in part, as follows:

           3.   I am a Special Agent with the FBI and I have been
personally involved in the investigation of this matter.       This
affidavit is based upon my personal participation in the
investigation, and my conversations with law enforcement officers,
law enforcement employees, and witnesses, as well as a review of
documents.    Because this affidavit is being submitted for the
limited purpose of establishing probable cause, it does not include
all the facts that I have learned during the course of this
investigation. Where the actions, statements, and conversations
of others are reported herein, they are reported in substance and
in part, except where otherwise indicated.

        Overview of the Mango Markets Manipulation Scheme

          4.   As described in greater detail below, Mango Markets
is a decentralized cryptocurrency exchange that has its own native
crypto token, called MNGO. Investors can buy and sell MNGO and
other cryptocurrencies on Mango Markets.      Investors on Mango

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Markets can also buy and sell perpetual futures (“Perpetuals”)
based on the relationship between the value of MNGO and the value
of a crypto stablecoin called USD Coin (“USDC”), which is designed
to be pegged to the dollar.     Perpetuals are “swaps” under the
Commodity Exchange Act. An investor who buys a Perpetual for MNGO
stands to profit if the value of MNGO rises relative to the value
of USDC, and an investor who sells a Perpetual for MNGO stands to
profit if the value of MNGO falls relative to the value of USDC.
Finally, Mango Markets allows investors to borrow cryptocurrency
from the exchange, in amounts based on the value of the borrower’s
portfolio, and to withdraw that borrowed cryptocurrency.

          5.   As explained in greater detail below, in or about
October 2022, AVRAHAM EISENBERG, the defendant, participated in a
scheme to steal approximately $110 million by artificially
manipulating the price of MNGO Perpetuals on Mango Markets (the
“Market Manipulation Scheme”).    The scheme worked as follows:
EISENBERG used an account that he controlled on Mango Markets to
sell a large amount of Perpetuals for MNGO and used a separate
account on Mango Markets to purchase those same Perpetuals. In
other words, EISENBERG sold himself MNGO Perpetuals. EISENBERG
then engaged in a series of large purchases of MNGO, with the
objective of artificially increasing the price of MNGO relative to
USDC, which had the effect of increasing the price of MNGO
Perpetuals on Mango Markets. That purchasing achieved the desired
effect, causing the price of MNGO Perpetuals on Mango Markets to
increase precipitously over the course of approximately 20
minutes.   Over that time span of approximately 20 minutes, the
price of MNGO Perpetuals rose from approximately 0.0382 USDC/MNGO
to approximately 0.54 USDC/MANGO, an increase of approximately
1300 percent.

          6.   As the price of MNGO Perpetuals on Mango Markets
rose as a result of the Market Manipulation Scheme perpetrated by
AVRAHAM EISENBERG, the defendant, the value of the MNGO Perpetuals
that EISENBERG had purchased also rose.      Because Mango Markets
allows investors to borrow and withdraw cryptocurrency based on
the value of their assets on the platform, the increase in the
value of the MNGO Perpetuals EISENBERG had purchased allowed
EISENBERG to borrow, then withdraw, approximately $110 million
worth of various cryptocurrencies from Mango Markets, which came
from deposits of other investors in the Mango Markets exchange.
When EISENBERG borrowed and withdrew that cryptocurrency, he had
no intention to repay the borrowed funds.       Accordingly, after
EISENBERG   borrowed   and  withdrew    essentially  all   of   the
cryptocurrency deposits on the Mango Markets platform, EISENBERG
ceased manipulating the price of MNGO Perpetuals, causing the price

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of MNGO Perpetuals to fall significantly.    Due to EISENBERG’s
withdrawals, other investors with deposits on Mango Markets lost
much, or all, of those deposits.

                     Background on Mango Markets

          7.   Based   on   my   training  and   experience,   my
participation in this investigation, my review of publicly
available records (including the Mango Markets website), and my
participation in discussions with individuals knowledgeable about
Mango Markets, I have learned, in substance and in part, the
following:

               a.    Mango    Markets    is     a    decentralized
cryptocurrency exchange that allows investors to lend, borrow,
swap, and leverage-trade cryptocurrency assets. Mango Markets is
run by the Mango Decentralized Autonomous Organization (the “Mango
DAO”).    A decentralized autonomous organization, or “DAO,”
generally refers to an entity structure in which there is no
central decision-making authority, and such authority is instead
distributed across digital token holders, who cast votes to make
decisions. In the context of the Mango DAO, for instance, holders
of MNGO are allowed to vote on changes to Mango Markets and issues
related to the governance of the Mango DAO, among other things.

               b.   To use Mango Markets, an investor must connect
a cryptocurrency wallet to the exchange, create a Mango Markets
account, and deposit cryptocurrency into that account. Once an
investor has created and funded a Mango Markets account, the
investor can trade different types of cryptocurrencies, including
the MNGO token, on the Mango Markets exchange.

               c.   One type of trade investors can make is known
as a “spot” trade. In a spot trade, an investor exchanges one
cryptocurrency for another, at whatever the prevailing exchange
rate between those two cryptocurrencies is at the time of the
transaction. Investors can also make leveraged spot trades, in
which the investor’s deposits and other positions are used as
collateral, allowing the investor to buy more of another
cryptocurrency on margin than the investor could purchase through
a one-for-one exchange.

                d.   Another type of trade available on Mango
Markets is a perpetual futures contract, or “Perpetual” for short.
When an investor buys or sells a Perpetual for a particular
cryptocurrency, the investor is not buying or selling that
cryptocurrency.    Instead, the investor is buying or selling

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exposure to future movements in the value of that cryptocurrency
relative to another cryptocurrency. For example, if an investor
buys a MNGO Perpetual at a price of 0.02 USDC/MNGO, the investor
is “long” on MNGO, and the value of that perpetual will rise if
the value of MNGO rise above 0.02 USDC/MNGO. Conversely, if an
investor sells a MNGO Perpetual at a particular price, the investor
is “short” on MNGO, and the value of that Perpetual will rise if
the value of MNGO falls relative to USDC. Like with spot trading,
investors on Mango Markets can also make leveraged Perpetuals
trades, in which the investor’s deposits and other positions act
as collateral, thereby allowing the investor to buy a larger
Perpetual position than the value of those deposits.

               e.    For the reasons given above, the price of a
Perpetual at any particular time depends on, among other things,
the relative value of two cryptocurrencies.      To determine the
relative value of cryptocurrency pairs for purpose of pricing
Perpetuals, Mango Markets uses an “oracle,” which is a computer
program that calculates the relative value of cryptocurrency
pairings by looking at the exchange rate of those cryptocurrencies
on various cryptocurrency exchanges (the “Oracle”).       When the
Oracle price changes for a particular cryptocurrency pairing, the
price of Perpetuals in that cryptocurrency pairing also changes on
Mango Markets.    Accordingly, changes in the relative price of
cryptocurrency pairs on other exchanges impact the price of
Perpetuals on the Mango Markets platform.

               f.    In addition to allowing investors to use
deposits and other positions as collateral for leveraged trades,
Mango Markets also allows investors to use those deposits and
positions   as    collateral  for   borrowing    and   withdrawing
cryptocurrency from the Mango Markets exchange. To borrow through
Mango Markets, investors must access the Mango Markets website and
click a button labeled “borrow” that allows the user to borrow
cryptocurrency. The user can withdraw the cryptocurrency the user
has borrowed by clicking another button labeled “withdraw.” The
cryptocurrency that investors borrow through Mango Markets comes
from cryptocurrency that other investors have deposited in Mango
Markets accounts.

               g.    The amount that an investor on Mango Markets
can withdraw is determined by a formula that looks at, among other
things, the value of the cryptocurrency deposited in the investor’s
account, the value of the investor’s positions on Mango Markets,
and the amount of cryptocurrency that the investor has already
borrowed through Mango Markets. Mango Markets uses a formula to
track the relationship between these assets and liabilities, which

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Mango Markets labels the “health” of the account. If the “health”
of a Mango Markets account falls below zero, the investor’s
positions on Mango Markets can be liquidated.

          8.   I understand that virtual currencies, such as USDC,
are “commodities” under the Commodity Exchange Act (“CEA”). See,
e.g., C.F.T.C. v. McDonnell, 287 F. Supp. 3d 213 (E.D.N.Y. 2018)
(“A ‘commodity’ encompasses virtual currency both in economic
function and in the language of the statute.”); United States v.
Reed, No. 20 Cr. 500 (JGK), 2022 WL 597180, at *3 (S.D.N.Y. Feb.
28, 2022) (finding “defendant had ample notice from the broad
definition of commodities under the CEA that cryptocurrencies were
within the definition of commodities”). Accordingly, Perpetuals
based on the relative value of MNGO and USDC are “swaps” under the
CEA. See 7 U.S.C. § 1(47)(A).

              EISENBERG’s Market Manipulation Scheme

          9.    Based on my review of records and data from a
company called Circle, I have learned, in substance and in part,
the following:
               a.   Circle provides a platform that allows
individuals to create accounts, in which they can purchase, sell,
store, and transfer the crypto stablecoin USDC.

               b.   In or about 2019, AVRAHAM EISENBERG, the
defendant, opened an account at Circle (“Circle Account-1”). I
know that EISENBERG is the user of Subject Account-1 because the
account opener used the name “Avraham Eisenberg” and provided a
photograph of EISENBERG’s passport.      I have reviewed that
photograph and recognize the person pictured on the passport as
EISENBERG.

          10.    Based on my review of publicly available trading
data, data from a cryptocurrency exchange (“Exchange-1”), and data
from Circle, I have learned that, on or about October 11, 2022,
AVRAHAM EISENBERG, the defendant, created a large Perpetual
position based on the relative value of MNGO and USDC by funding
two Mango Markets accounts and selling a large amount of Perpetuals
from one to the others. Specifically, I have learned, in substance
and in part, the following:




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               a.   On or about October 11, 2022, in the late
morning and early afternoon, 1 Circle Account-1, which belongs to
EISENBERG, sent approximately 14,179,322 USDC to a cryptocurrency
wallet that then sent approximately 12,499,900 USDC to an account
at Exchange-1 (the “Exchange-1 Account”) which as explained below,
is also controlled by EISENBERG.

               b.    Between approximately 3:36 p.m. and 3:50 p.m.,
Exchange-1 Account sent approximately 5,524,838 USDC to a
cryptocurrency wallet (“Solana Wallet-1”) on the blockchain known
as Solana, which is the blockchain on which Mango Markets is built.

               c.   At approximately 3:47 p.m., the Exchange-1
Account sent approximately 4,999,999.95 USDC to another wallet on
the Solana blockchain (“Solana Wallet-2”).

               d.   Between approximately 6:08 p.m. and 6:18 p.m.,
the Exchange-1 Account sent approximately 5,000,100 USDC to a Mango
Markets account (“Mango Account-1”).

               e.   Between approximately 6:07 p.m. and 6:18 p.m.,
Solana Wallet-2 sent approximately 4,999,998.95 USDC to a
different Mango Markets account (“Mango Account-2”).

               f.   Between approximately 6:24 p.m. and 6:25 p.m.,
Mango Account-2 sold to Mango Account-1 Perpetuals based on the
relative value of MNGO and USDC. The Perpetuals were based on a
total of approximately 488,302,109 MNGO, at a price of 0.0382
USDC/MNGO. Accordingly, Mango Account-1 held a “long” position,
the value of which would rise if the value of MNGO relative to
USDC rose above 0.0382 USDC/MNGO (the “Long MNGO Perpetual
Position”). Mango Account-2 held a “short” position, the value of
which would rise if the value of MNGO relative to USDC fell below
0.0382 USDC/MNGO (the “Short MNGO Perpetual Position”).

               g.   Because the USDC that funded both Mango
Account-1 and Mango Account-2 originated with EISENBERG’s account
at Circle, it appears that EISENBERG controlled or at a minimum
funded both Mango Account-1 and Mango Account-2.     Accordingly,
EISENBERG was on both sides of the MNGO Perpetual transaction
described above.




1 All times are in Eastern Time and, based on my review of travel
records, I have learned that EISENBERG was in Puerto Rico at the
time of the Market Manipulation Scheme.

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          11. As    described   in the  following  paragraphs,
immediately after the creation of the Long and Short MNGO
Perpetuals, AVRAHAM EISENBERG, the defendant, used USDC to
purchase large amounts of MNGO on multiple cryptocurrency
exchanges, which had the effect of artificially increasing the
value of MNGO relative to USDC.

          12. Based on my review of publicly available trading
data on the Solana blockchain and my review of publicly available
documents (including from Mango Markets), I have learned, in
substance and in part, the following:

                a.   Aggregator-1 is a program that allows users to
buy and sell cryptocurrency across a number of different
cryptocurrency    exchanges  simultaneously.      Aggregator-1   is
available through the Mango Markets, as another way for Mango
Markets investors to buy and sell cryptocurrency.       One of the
cryptocurrency exchanges through which Aggregator-1 transacts is
one of the programs from which the Oracle gathered data for pricing
Perpetuals.

               b.   As explained above, on or about October 11,
2022, Circle Account-1, which was the account belonging to AVRAHAM
EISENBERG, the defendant, at Circle, sent USDC to the Exchange-1
Account, which then sent USDC to Solana Wallet-1.

               c.   Between    approximately    6:26   p.m.    and
approximately 6:45 p.m., on or about October 11, 2022, the user of
Solana Wallet-1 executed multiple transactions on Jupiter
Aggregator, in which the user of Solana Wallet-1 sold USDC for a
total of over 3.4 million MNGO.

               d.   At the same time as the user of Solana Wallet-
1 was purchasing a large volume of MNGO through Aggregator-1, the
value of MNGO relative to USDC rose from a low of approximately
0.0389 USDC/MNGO to a high of approximately 0.91 USDC/MNGO on the
exchange utilized by the Oracle for pricing Perpetuals.

          13. Based on my review of data and records from a
cryptocurrency exchange that has offices in, among other
locations, Manhattan, New York (“Exchange-2”), communications with
representatives of Exchange-2, and publicly available documents
(including from Mango Markets), I have learned, in substance and
in part, the following:

               a.   Exchange-2 was one of the exchanges from which
the Oracle gathered data for pricing Perpetuals.

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               b.   On or about October 11, 2022, an individual
opened and funded an anonymous account on Exchange-2 (the
“Exchange-2 Account”).

               c.   Between    approximately    6:26   p.m.    and
approximately 6:45 p.m., the Exchange-2 Account sold USDT for over
1 million MNGO. During that period, the price of MNGO rose from
a low of approximately 0.04 USDT/MNGO to a high of approximately
0.45 USDT/MNGO. Like USDC, USDT is a stablecoin designed to be
pegged to the dollar.

               d.   I have learned that AVRAHAM EISENBERG, the
defendant, controlled the Exchange-2 Account.     Specifically, I
have learned, in substance and in part, that following the Market
Manipulation Scheme, Exchange-2 froze funds in the Exchange-2
Account, and EISENBERG initiated a legal action to try to retrieve
the funds from the account, claiming to be the owner.

               e.   Opening, funding, and trading through Exchange
Account-2 resulted in wires and data being transmitted to, among
other locations, Exchange-2’s office in Manhattan.

          14. Based on my review of data and records from
Exchange-1, records from Google, and publicly available documents
(including from Mango Markets), I have learned, in substance and
in part, the following:

               a.   Exchange-1 was one of the exchanges from which
the Oracle gathered data for pricing Perpetuals.

               b.   As explained above, Circle Account-1, which
belongs to AVRAHAM EISENBERG, the defendant, sent USDC to the
Exchange-1 Account on or about October 11, 2022.

               c.   The Exchange-1 Account was opened on or about
September 19, 2022, using a passport and personal identifying
information that appears to belong to a Ukrainian woman, along
with a particular Gmail address (“Gmail Address-1”).

               d.   Nonetheless, it appears that the Exchange-1
Account is controlled by EISENBERG for the following reasons, among
others:

              i.    As explained  above, EISENBERG’s               Circle
Account, Circle Account-1, sent over 12 million USDC              to the
Exchange-1 Account.

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              ii.    Gmail Address-1, which was used to create the
Exchane-1 Account, was created on or about September 1, 2022 —
just a few weeks before the Exchange-1 Account was opened. The
recovery     email     address    for     Gmail    Address-1     is
“avi@thimessolutions.com,” which is registered to EISENBERG.
Similarly, the recovery phone number for Gmail Address-1 is the
same phone number that EISENBERG listed as his contact phone number
for Circle Account-1.     Accordingly, it appears that EISENBERG
actually controls Gmail Address-1, which was then used to create
the Exchange-1 Account.

               e.   Between approximately 6:26 p.m. and 6:40 p.m.,
the Exchange-1 Account sold USDC for a total of over 16 million
MNGO. During that period, the price of MNGO rose from a low of
approximately 0.0388 USDC/MNGO to a high of approximately 0.1557
USDC/MNGO.

          15. By artificially manipulating the value of MNGO
relative to USDC, AVRAHAM EISENBERG, the defendant, also intended
to and did increase the price of MNGO Perpetuals on Mango Markets,
which significantly increased the value of the Long MNGO Perpetual
Position that EISENBERG had purchased, thereby allowing EISENBERG
to borrow and withdraw large amounts of cryptocurrency from Mango
Markets. Specifically, based on my review of publicly available
data from Mango Markets, I have learned, in substance and in part,
the following:

               a.   As explained above, the price of Perpetuals on
Mango Markets was set by the Oracle, which calculates the relative
price of cryptocurrencies by looking at prices on other
cryptocurrency exchanges.

               b.    During the trading described above, the price
of Perpetuals based on the relative value of MNGO and USDC on Mango
Markets rose significantly. Specifically, between approximately
6:26 p.m. and 6:45 p.m., on or about October 11, 2022, the price
of MNGO Perpetuals on Mango Markets rose from approximately 0.0382
USDC/MNGO to a high of approximately 0.54 USDC/MNGO — an increase
of over 1300 percent.

               c.   As the price of MNGO Perpetuals rose, the
value of the Long MNGO Perpetual Position that Mango Account-1 had
purchased rose, accordingly. Because of that increase in value,
EISENBERG, who controlled Mango Account-1, was able to use the
“borrow” and “withdraw” function on Mango Markets to borrow and


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withdraw a large amount of cryptocurrency, without the “health” of
Mango Account-1 dropping low enough to trigger liquidation.

               d.   Following that increase in borrowing power,
EISENBERG borrowed and withdrew approximately $110 million worth
of different cryptocurrencies from Mango Markets. For example:

                  i.     At   approximately   6:29   p.m.,   Mango
Account-1 borrowed and withdrew approximately 50,000,000 USDC from
Mango Markets and sent those assets to Solana Wallet-1.

                 ii.     At  approximately   6:36   p.m.,  Mango
Account-1 borrowed and withdrew approximately 400,000 SOL, which
is the Solana cryptocurrency, from Mango Markets, and sent those
assets to Solana Wallet-1.

                iii.      At  approximately   6:37   p.m.,   Mango
Account-1 borrowed and withdrew approximately 798,000 mSOL, which
is a crypto token on the Solana blockchain, and approximately
282.12 wBTC, which is a cryptocurrency designed to track the value
of Bitcoin, from Mango Markets.

                 iv.     At   approximately  6:41   p.m.,  Mango
Account-1 borrowed and withdrew approximately 2,807,721 USDC and
approximately 3,266,426 USDT, which is a cryptocurrency designed
to track the value of the dollar, from Mango Markets, and sent
those assets to Solana Wallet-1.

                  v.     At   approximately   6:45   p.m.,   Mango
Account-1 borrowed and withdrew approximately 2,354,260 SRM, which
is the native cryptocurrency for a platform called Serum, and
approximately 32,409,565.06 MNGO, from Mango Markets, and sent
those assets to Solana Wallet-1.

               e.  The cryptocurrency that EISENBERG borrowed and
withdrew came from, among other places, the deposits and assets
belonging to other Mango Markets investors.    The user of Mango
Account-1 withdrew effectively all available funds from Mango
Markets.

               f.   While EISENBERG purported to be borrowing the
cryptocurrency, he appeared to have no intention of actually
repaying those loans. Following the withdrawals described above,
Solana Wallet-1, the Exchange-1 Account, and the Exchange-2
Account ceased purchasing MNGO and began to sell MNGO for USDC.
The price of MNGO tokens fell precipitously, causing the price of
MNGO Perpetuals on Mango Markets to fall to approximately 0.02

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USDC/MNGO. As a result, the Long MNGO Perpetual Position dropped
to having a negative value and the “health” of Mango Account-1
fell below zero, making Mango Account-1 subject to liquidation.
There was, however, nothing to liquidate because EISENBERG had
already withdrawn the cryptocurrency.

       EISENBERG Admits to the Market Manipulation Scheme

          16. Based on my review of publicly available posts on
a website where holders of MNGO can vote on Mango DAO proposals,
as well as my communications with individuals who have knowledge
of Mango DAO’s operations, I have learned, in substance and in
part, the following:

               a.   Between on or about October 11 and 13, 2022,
representatives of Mango DAO engaged in negotiations with an
individual purporting to be the perpetrator and others purporting
to be in contact with the perpetrator. The negotiations focused
on, among other things, the perpetrator returning some of the
cryptocurrency from the attack.

               b.   Based on those negotiations, on or about
October 13, 2022, members of the Mango DAO issued a written
proposal on the Mango DAO message board and to the user of Solana
Wallet-1.   The proposal had, among other things, the following
terms: (i) the Mango DAO would receive cryptocurrency worth
approximately $67 million from the user of Solana Wallet-1;
(ii) the funds from the user of Solana Wallet-1 would, in
combination with funds owned by the Mango DAO, be used to, among
other things, repay Mango Market investors who had lost deposits;
(iii) holders of MNGO would agree to waive certain civil claims
and refrain from pursuing criminal investigations or attempting to
freeze assets taken during the scheme. The proposal also called
for the user of Solana Wallet-1 to make a 10,000,000 USDC payment
to a wallet controlled by members of the Mango DAO, no later than
12 hours after the issuance of the proposal, and before a final
vote.

               c.   On or about October 15, 2022, a cryptocurrency
wallet on the Ethereum blockchain (“Ethereum Wallet-1”) sent
approximately 10 million USDC to a wallet controlled by members of
the Mango DAO. Based on the proposal described above, it therefore
appears that the user of Solana Wallet-1 also controls Ethereum
Wallet-1.

               d.   After the transfer described, members of the
Mango DAO voted to approve the October 13, 2022 proposal described

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above. Following that approval, multiple cryptocurrency wallets
sent the Mango DAO approximately         $57  million   worth  of
cryptocurrency, in addition to the 10 million USDC that Mango DAO
had already received.

               e.   Members of Mango DAO and Mango Markets did not
receive the rest of the cryptocurrency that had been taken, which
amounted to approximately $40 million worth of different
cryptocurrencies.

          17. Shortly after the negotiations described above,
AVRAHAM EISENBERG, the defendant, claimed responsibility for the
Market Manipulation Scheme. Specifically, based on my review of
publicly available information on Twitter, I have learned, in
substance and in part, the following:

               a.    EISENBERG uses a particular Twitter account
(“Twitter Account-1”). EISENBERG appears to be the user of Twitter
Account-1 because the username of the account is “Avraham
Eisenberg” and, in the past, Twitter Account-1 displayed a user
photograph that I know was an image of EISENBERG based on my review
of his passport photograph.

               b.   On or about October 15, 2022 — the same day as
the repayment of some cryptocurrency as described above — Twitter
Account-1 displayed a series of posts stating, in substance and in
part, that the user of Twitter Account-1 had “operated a highly
profitable trading strategy” that “took place on[] Mango Markets”
and resulted in Mango Markets becoming “insolvent.” 2

               c.   Moreover,   EISENBERG’s   posts   on   Twitter
Account-1 show that he was aware of the laws prohibiting market
manipulation. For example, on or about September 1, 2022, Twitter
Account-1 posted a link to a press release from the United States
Attorney’s Office of the Southern District of New York, announcing
charges, including under the CEA, in connection with a defendant
artificially manipulating a foreign currency exchange rate in
order to trigger a payment under an options contract.

          18. Based on my review of travel records, I have learned
that, on or about October 12, 2022 – the day after the Market
Manipulation Scheme – AVRAHAM EISENBERG, the defendant, flew from

2 The posts also stated, in substance and in part, that the user
of Twitter Account-1 had helped negotiate an agreement to make
users of Mango Markets whole and that the user of Twitter Account-
1 believed all of his actions were legal.

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 the United States to Israel. Based on the timing of the flight,
 the travel appears to have been an effort to avoid apprehension by
 law enforcement in the immediate aftermath of the Market
 Manipulation Scheme.

           WHEREFORE, the deponent respectfully requests that a
 warrant be issued for the arrest of AVRAHAM EISENBERG, the
 defendant, and that he be arrested, and imprisoned or bailed, as
 the case may be.




                                  /s/ Brandon Racz (sworn telephonically)
                                  _______________________________
                                  BRANDON RACZ
                                  Special Agent
                                  FBI

  Sworn to me through the transmission of this
  Affidavit by reliable electronic means, pursuant to
  Federal Rules of Criminal Procedure 4.1 and 41(d)(3), this
  ___th day of December, 2022
23rd



 _____________________________________
 THE HONORABLE GABRIEL W. GORENSTEIN
 UNITED STATES MAGISTRATE JUDGE
 SOUTHERN DISTRICT OF NEW YORK




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